Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 1 of 55 PageID #:
                                  58008




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NEW YORK


                                              )
  BARBARA SCHWAB, et al., individually and, )
  on behalf of all others similarly situated, )
                                              )
                     Plaintiffs,              )   No. 1:04-cv-1945 (JBW)(SMG)
                                              )
                           v.                 )
                                              )
  PHILIP MORRIS USA, INC., et al.,
                                              )
                     Defendants.              )
                                              )




         DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
   DAUBERT MOTION TO EXCLUDE THE TESTIMONY OF DR. JOHN R. HAUSER
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 2 of 55 PageID #:
                                  58009

                                                    TABLE OF CONTENTS

                                                                                                                                        Page

 TABLE OF AUTHORITIES ........................................................................................................ iii
 INTRODUCTION ......................................................................................................................... 1
 BACKGROUND ........................................................................................................................... 3
           I.         The Court’s Rulings on the Reliance Element of Plaintiffs’ Claims ..................... 4
           II.        Dr. Hauser .............................................................................................................. 6
           III.       The Conjoint Study ................................................................................................ 7
                      A.         Study Design.............................................................................................. 8
                                 1.         Dr. Hauser Made An Unwarranted A Priori Decision to
                                            Test Four Product Attributes.......................................................... 8
                                 2.         Dr. Hauser Made An Unwarranted A Priori Decision to
                                            Aggregate All 65 Brands At Issue ............................................... 10
                                 3.         The Pretest Was Inadequate......................................................... 10
                                 4.         The Survey Was Administered To A Sample That Is Not
                                            Representative Of The Proposed Class........................................ 11
                                 5.         The Questionnaire Presented Choice Sets That Could Not
                                            Possibly Exist In The Market....................................................... 13
                      B.         The Conjoint Study Has No Application To This Case........................... 14
                                 1.         The Study Is Not Probative Of Class Members’ Reliance .......... 14
                                 2.         The Study’s Central Finding Is Not Probative Of Any Issue
                                            In This Case ................................................................................. 15
                                            a.         The Conjoint Study Produced Irrational Results ............. 17
           IV.        The Time Study.................................................................................................... 17
 ARGUMENT............................................................................................................................... 24
           I.         Dr. Hauser’s Testimony And Conjoint Study Must Be Excluded From
                      Evidence Under Daubert And Rule 702 .............................................................. 24
                      A.         Dr. Hauser’s Opinions Will Not Aid The Jury In Resolving Any
                                 Issue In Dispute........................................................................................ 24
                                 1.         The Conjoint Study Does Not Address Why Class
                                            Members Purchase Their Light Cigarettes .................................. 25
                                 2.         The Conjoint Study Relies Upon False Assumptions About
                                            Consumer Choice......................................................................... 29
                      B.         The Conjoint Study’s Aggregation Of Brands Produced Unreliable
                                 Results...................................................................................................... 31




                                                                      -i-
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 3 of 55 PageID #:
                                  58010

                                                    TABLE OF CONTENTS
                                                        (continued)
                                                                                                                                        Page

                      C.         Even If Dr. Hauser’s Conjoint Study Fit, It Would Have To Be
                                 Excluded Due To Serious Methodological Flaws ................................... 33
                                 1.         The Study Suffers From Methodological Flaws Due To Dr.
                                            Hauser’s Ignorance Of The Cigarette Industry............................ 33
                                            a.         Important Factors In Smokers’ Purchasing
                                                       Decisions Were Omitted From The Survey..................... 34
                                            b.         The Survey Did Not Accurately Reflect Market
                                                       Choices............................................................................. 36
                                            c.         The Survey Contained Ambiguous Terms....................... 37
                                 2.         Other Methodological Flaws........................................................ 37
                                            a.         Dr. Hauser Polled A Biased Sample ................................ 37
                                                       (i)         Dr. Hauser failed to properly define a
                                                                   relevant survey “universe”................................... 38
                                                       (ii)        The Greenfield Online database did not
                                                                   provide a representative sample of the
                                                                   relevant universe .................................................. 39
                                                       (iii)       Dr. Hauser utilized unreliable demographic
                                                                   variables ............................................................... 40
                                                       (iv)        Dr. Hauser’s sampling procedures lacked
                                                                   adequate controls ................................................. 41
                                            b.         The Conjoint Study’s Format Suggested To
                                                       Respondents That Light Cigarettes Are Less
                                                       Dangerous Than Regular Cigarettes ................................ 42
                                            c.         Results Of The Conjoint Survey Are Skewed By
                                                       “Range Effect” ................................................................. 43
                                            d.         Price Ranges Tested In The Conjoint Survey
                                                       Increased The Measured Importance Of Price................. 44
                                 3.         The Conjoint Survey’s Lack Of Reliability Is Demonstrated
                                            By Its Irrational Results ............................................................... 45
                      D.         Dr. Hauser’s Conduct In Connection With The Time Study
                                 Demonstrates His Inability To Qualify As An Expert Witness............... 46
           II.        Dr. Hauser’s Testimony And Conjoint Study Must Be Excluded Under
                      Rule 403 ............................................................................................................... 47
 CONCLUSION............................................................................................................................ 48




                                                                     - ii -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 4 of 55 PageID #:
                                  58011



                                              TABLE OF AUTHORITIES
                                                                                                                               Page
                                                              CASES

 Amorgianos v. Nat’l R.R. Passenger Corp.,
       137 F. Supp. 2d 147 (E.D.N.Y. 2001), aff'd, 303 F.3d 256, 266 (2d Cir. 2002) ...............29

 Amstar Corp. v. Domino's Pizza, Inc.,
       615 F.2d 252 (5th Cir 1980) ........................................................................................37, 38

 Arche, Inc. v. Azaleia, U.S.A., Inc.,
        882 F. Supp. 334 (S.D.N.Y. 1995).....................................................................................37

 Binder v. Long Island Lighting Corp.,
        No. CV 88-1315, 1990 WL 137403 (E.D.N.Y. July 26, 1990), rev'd other
        grounds, 933 F.2d 187 (2d Cir. 1991) ...............................................................................31

 Cumberland Packing Corp. v. Monsanto Corp.,
      140 F. Supp. 2d 241 (E.D.N.Y. 2001) ...............................................................................33

 Daubert v. Merrell Dow Pharm., Inc.,
       509 U.S. 579 (1993)...........................................................................................................24

 E.E.O.C. v. Rockwell Int’l Corp.,
       60 F. Supp. 2d 791 (N.D. Ill.1999) ....................................................................................46

 Fashion Boutique of Short Hills v. Fendi USA,
       75 F. Supp. 2d 235 (S.D.N.Y. 1999)..................................................................................30

 In re Agent Orange Prod. Liab. Litig.,
        611 F. Supp. 1223 (E.D.N.Y. 1985), aff'd, 818 F.2d 187 (2d Cir. 1987), cert. den,
        487 U.S. 1234 (1988).........................................................................................................47

 In re Jackson Nat’l Life Ins. Corp. Premium Litig.,
         No. 96-MD-1122, 2000 WL 33654070 (W.D. Mich. Feb 8, 2000)...................................46

 Kumho Tire Corp. v. Carmichael,
      526 U.S. 137 (1999).....................................................................................................24, 46

 Lerner v. Fleet Bank, N.A.,
        318 F.3d 113 (2d Cir. 2003)……………………………………………………………...25

 Raskin v. Wyatt Corp.,
        125 F.3d 55 (2d Cir. 1997)…………………………………………………………….…31




                                                                - iii -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 5 of 55 PageID #:
                                  58012



                                                 TABLE OF AUTHORITIES
                                                                                                                                       Page
                                                                CASES
                                                              (Continued)

 Schwab v. Philip Morris USA, Inc.,
       No. 04-CV-1945 (JBW), 2006 WL 721368 (E.D.N.Y. March 20, 2006) ...................19, 46

 Starter Corp. v. Converse, Inc.,
         170 F.3d 286 (2d Cir. 1999)...............................................................................................29

 Toys "R'' Us, Inc. v. Canarsie Kiddie Shop, Inc.,
        559 F. Supp. 1189 (E.D.N.Y. 1983) ............................................................................24, 33

 Trouble v. Wet Seal, Inc.,
        179 F. Supp. 2d 291 (S.D.N.Y. 2001)................................................................................47

 Vista Food Exch., Inc. v. Vistar Corp.,,
        No. 03-CV-5203 (DRH), 2005 WL 2371958 (E.D.N.Y. Sept. 27, 2005) ...................37, 47

                                                        STATUTES
 FED. R. CIV. P. 26(a)......................................................................................................................47

 FED. R. EVID. 403...........................................................................................................................47

 FED. R. EVID. 702 ..........................................................................................................................24

 FED. R. EVID. 703 ..........................................................................................................................24

                                                   SECONDARY SOURCES

 K. Michael Cummings et al., Comparison of Recent Trends in Adolescent and Adult Cigarette
 Smoking Behavior and Brand Preferences, 6 (Supp. 2) Tobacco Control S31 (1997)………….32

 Subhash Lonial et al., Identifying Purchase Driving Attributes and Market Segments for PCs
 Using Conjoint and Cluster Analysis, 2 (2) J. OF ECON. AND SOC. RES. 19 (2000) ......................35

 M.M.W.R., Cigarette Smoking Among Adults - United States (2004) ..............................12, 39, 41

 Julie Ratcliffe, The Use of Conjoint Analysis to Elicit Willingness-to-Pay Values, 16
 INT’l J. OF TECH. ASSESSMENT IN HEALTH CARE 270 (2000)........................................................44

 4 WEINSTEIN’S FEDERAL EVIDENCE §702.06[3] (2d 1998) ...........................................................24

 Dick R. Wittink et al., The Effect of Differences in the Number of Attribute Levels on
 Conjoint Results, 1 (2) Marketing Letters 113 (1989)...................................................................43




                                                                    - iv -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 6 of 55 PageID #:
                                  58013



                                         INTRODUCTION

        This case focuses on consumers’ reliance on the word “light” in the purchase of sixty-five

 brands of cigarettes over more than thirty-five years. Some of the cigarettes were heavily

 marketed; others not. Some share brand names with full-flavor or ultra light cigarettes; others

 not. Some were introduced in the 1970s and some in each decade since. The market shares, tar

 deliveries, image, advertising, and packaging of the cigarettes vary widely. All that the

 cigarettes have in common is the word “light” in their name. Based on this one word, plaintiffs

 claim that consumers of these light cigarettes understood manufacturers to imply that light

 cigarettes were safer than full-flavor cigarettes, and plaintiffs claim that consumers purchased

 their cigarettes in reliance on that implication. Dr. John Hauser was to be plaintiffs’ expert to

 prove the percentage of the class that purportedly so relied.

        For a long while, plaintiffs offered no proof of consumers’ beliefs or reliance whatsoever.

 Instead, they insisted that reliance be presumed for all consumers. This Court repeatedly rejected

 that approach (see, e.g., Transcript of Hearing dated September 13, 2005 (“9/13/05 Tr.”) at 268

 (adopting the term “preposterous” to describe such a presumption), attached as Ex. 25 to the

 Declaration of Arthur J. Margulies (“Margulies Decl.”)), and instructed plaintiffs to offer proof

 as to the number of consumers who believed lights to be less dangerous, as to the source of those

 consumers’ beliefs, and as to the time when those consumers reached their beliefs. Indeed, after

 argument on plaintiffs’ motion for class certification last September 13, this Court decided not to

 rule on the motion and rather to reopen discovery to allow consideration of the testimony of Dr.

 Hauser regarding a survey that was purported to address consumer reliance. Later, the Court

 extended the timing of this case even further to allow Dr. Hauser to conduct a second survey

 addressed to the timing of consumers’ knowledge of the risks of lights cigarettes. The second
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 7 of 55 PageID #:
                                  58014



 survey was invited so that the Court could potentially make a determination of the percentage of

 lights smokers whose claims would be barred by the statute of limitations.

         Now that the surveys conducted under Dr. Hauser’s auspices have been reported and his

 opinions have been discovered, it is plain that neither Dr. Hauser’s surveys nor his testimony fit

 the issues that this Court has insisted are the center of this litigation:

         •       Dr. Hauser offers no testimony at all on why consumers chose their brands of
                 cigarettes. (See Deposition Transcript of John R. Hauser, dated March 23, 2006
                 (“3/23/06 Hauser Dep.”) at 221:15-16 (“My survey was not designed to do an
                 interbrand comparison.”), attached as Ex. 4 to Margulies Decl.) Specifically, his
                 conjoint study does not examine whether the “lights” descriptor caused class
                 members to purchase light cigarettes, even though that is the precisely what this
                 case is about. (See id. at 226:17-21 (“I did not do any analysis of why those
                 people chose light to determine whether or not it had ‘light’ on the pack or
                 whether they had some other -- some other reason for buying it.”)

         •       Dr. Hauser does not know why smokers chose their brand of lights and whether
                 their choice was made in reliance on the word “Lights.” (See id. at 221:24-222:9
                 (“Q. For example, do you know whether a Marlboro Lights smoker in the
                 absence of his Marlboro Lights is more likely to choose another Marlboro product
                 or another lights product? A. I am not providing an expert opinion with respect
                 to that.”))

         •       Dr. Hauser has not tested and does not know whether lights smokers received
                 information about the relative health risks of lights from the defendants, from the
                 Surgeon General, from their doctors, from any other source, or from no source.
                 (See id. at 222:10-225:13 (“The survey was not designed to determine where they
                 obtained information about health risks.”))

         •       Dr. Hauser did not study what consumers understood the word light to mean when
                 they purchased their cigarettes. (See id. at 225:23-25 (“the survey was not
                 designed to totally determine everything that "light" might imply in every product
                 category.”))

         •       Dr. Hauser has not studied and has no opinion whether smokers of light cigarettes
                 would have continued to smoke if lights had not been marketed. (See Deposition
                 Transcript of John R. Hauser, dated March 24, 2006 (“3/24/06 Hauser Dep.”) at
                 449:6-16, attached as Ex. 7 to Margulies Decl.)

         •       Indeed, Dr. Hauser has “no opinion” on whether consumers would have bought
                 the identical cigarettes if they did not contain the word “light” in the name. (See
                 3/23/06 Hauser Dep. at 226:17-18 (“I did not do any analysis of why those people



                                                   -2-
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 8 of 55 PageID #:
                                  58015



                 chose light.”)) He has no opinion whether the word light was a “driver” in any
                 purchaser’s decision. (See id. at 229:24-231:9.)

         Not only is it plain that Dr. Hauser’s testimony is irrelevant, but it is unreliable and

 unprofessional as well. The survey on which Dr. Hauser predicates his testimony asked

 respondents to assume impossible hypotheticals, was conducted through leading questions in a

 polemic, leading format, and produced results that were not only externally incompatible with

 sales in the real market, but were internally at war with themselves. Some respondents valued

 the level of health risk in the highest-risk cigarette (that is, all things being equal, such as taste,

 they would opt for greater health risks), and others assigned a negative value to the risk in the

 lowest-risk cigarette. (See Expert Disclosure of W. Kip Viscusi dated May 23, 2006 (“Viscusi

 Rept.”) ¶¶ 93-96, attached as Ex. 14 to Margulies Decl.) Testimony about this survey, which

 addressed hypothetical choices of mythical products, would only confuse the jury.

                                           BACKGROUND

         This is a tale of two surveys conducted under the auspices of Dr. John R. Hauser. The

 first survey (the “conjoint survey”) taken in June 2005, was intended to support damage

 calculations by Dr. Jeffrey Harris, another plaintiffs’ expert. A “choice-based conjoint” survey,

 it asked respondents who were current light smokers and who volunteered to answer questions,

 whether they would prefer various hypothetical cigarettes that vary from cigarettes that actually

 have been sold in the marketplace. The survey did not attempt to probe light cigarette smokers’

 reasons for choosing to purchase the light cigarettes they actually smoked. Its purpose was to

 “assess the value and importance of health risks to ‘light’ cigarette consumers in their decision to

 purchase a ‘light’ cigarette.” (Expert Witness Report by John R. Hauser dated December 19,

 2005 (“12/19/05 Hauser Rept.”) ¶ 4, attached as Ex. 1 to Margulies Decl.) The second survey

 (the “time survey”) was later conducted at the urging of the Court in response to a ruling



                                                   -3-
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 9 of 55 PageID #:
                                  58016



 provisionally denying defendants’ motion for summary judgment on statute of limitations

 grounds. The time survey found that the great majority of current and former light cigarette

 smokers believe lights are just as dangerous as regular cigarettes, and have held that belief since

 long before the statute of limitations period had commenced. After being urged not to divulge

 the results of the time survey by plaintiffs’ counsel, however, Dr. Hauser disowned that survey’s

 results and Dr. Hauser does not rely on it for his testimony. Dr. Hauser has since disowned any

 reliance on the second, so-called “time” survey.1

 I.     THE COURT’S RULINGS ON THE RELIANCE ELEMENT OF PLAINTIFFS’
        CLAIMS

        Several of the Court’s prior rulings are pertinent background to plaintiffs’ disclosure of

 Dr. Hauser and his conjoint study. Dr. Hauser was engaged by plaintiffs’ counsel in February

 2005, but plaintiffs’ counsel did not disclose his conjoint survey or his opinions based on it by

 the court-ordered deadline of March 2005 for submitting expert reports. (See E-mail from

 Shelley Schussheim to John Hauser dated February 16, 2005, attached as Ex. 34 to Margulies

 Decl.) Instead, plaintiffs initially took the position that they could satisfy their burden to prove

 that the proposed class relied on the fraud alleged in this case by asking the Court to adopt an

 assumption that every member of the class should be deemed to have relied on defendants’

 allegedly fraudulent use of the descriptor “light” in purchasing light cigarettes.2

        The Court made clear that it would not adopt this invalid assumption:



        1
          The circumstances leading to his repudiation of that survey undermine his credibility
 generally. They are discussed below.
        2
           Defendants asserted in the prior round of class certification and summary judgment
 briefing, and do so again here, that the reliance element of plaintiffs’ claims is an individual issue
 that cannot be adjudicated with aggregate proof. The issue is academic on this record, however,
 because plaintiffs have not adduced any aggregate proof of reliance.




                                                  -4-
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 10 of 55 PageID #:
                                  58017



                 We know that everybody doesn’t act the same way. We are
                 dealing with statistical averages in these cases.

                                                 * * *

                 If t[h]e plaintiffs[’] position is that everybody who smoked a light
                 cigarette had the same reasons, of course, that’s not going to be a
                 valid conclusion.

  (Transcript of Hearing dated May 26, 2005 at 19:21-24, 22:15-17, attached as Ex. 27 to

  Margulies Decl.) The Court later underscored, both before and during the class certification

  arguments in September 2005, that it is an “absurd” and “unreliable” proposition to state, as

  plaintiffs did, that every member of the proposed class relied on the alleged fraud in purchasing

  every pack of light cigarettes ever sold in the United States.3

         In response, plaintiffs disclosed Dr. Hauser’s expert report and his conjoint survey in

  August 2005, on the eve of the class certification hearings in September. Plaintiffs asserted that

  Dr. Hauser’s analysis “would respond to the Court’s concerns of whether or not there was a

  means available to identify a percentage of light smokers who did rely on the fraud absent

  universality.” (8/31/05 Tr. at 12.) Because plaintiffs did not make a timely disclosure of Dr.

  Hauser and his conjoint study, the Court initially ruled that it would not consider Dr. Hauser’s

  analysis in connection with the class certification and dispositive motions before the Court in

  September 2005. (See id. at 18-19 (THE COURT: “Hauser. His additional report will not be

         3
           See Transcript of Hearing dated August 31, 2005 (“8/31/05 Tr.”) at 25 (“Excuse me.
  Stop. I am not going to make any presumption [that ‘every purchaser . . . of light cigarettes
  purchased in reliance on the purported fraud’]. That would be absurd. . . . To have this Court
  presume millions of people react in the same way like Pavlov’s dogs is not something that this
  Court has ever considered doing . . . .”), attached as Ex. 28 to Margulies Decl.; 9/13/05 Tr. at
  268-69 ( “I can’t simply accept it [the proposition that ‘the implicit health representation of the
  term lights contributed to the purchase decision for all cigarette purchasers of light cigarettes.’]
  I'm not going to rely on that statement. It’s not a reliable statement.”); id. at 268 (“That is an
  absurd proposition to begin with.”); id. at 268 (“preposterous” is “not an inadequate
  representation of how I [the Court] feel” about plaintiffs’ notion of “universal reliance”).




                                                   -5-
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 11 of 55 PageID #:
                                  58018



  considered on the September 12th argument; is that clear?”); 9/13/05 Tr. at 343 (THE COURT:

  “Then we won’t hear Dr. H[a]user. We won’t hear anything about Dr. Hauser at this

  argument.”))

         A week after oral arguments on those motions—during which defendants argued, among

  other things, that plaintiffs’ inability to prove reliance on a class-wide basis warranted denial of

  their motion for class certification—the Court ruled that the opinions of Dr. Hauser and certain

  other experts that plaintiffs disclosed after the court-ordered deadlines “may bear on at least

  some of the critical pending motions.” (Memorandum and Order dated September 21, 2005 at 2,

  attached as Ex. 22 to Margulies Decl.) Accordingly, a nearly year-long delay ensued to allow for

  discovery in connection with, among other witnesses, Dr. Hauser. As we elaborate in more

  detail below, Dr. Hauser has not delivered what plaintiffs promised the Court he would: a

  “means . . . to identify a percentage of light smokers who did rely on the fraud.” (8/31/05 Tr. at

  12.)

  II.    DR. HAUSER

         Dr. Hauser is a Senior Consultant and co-founder of Applied Marketing Science, Inc.

  (“AMS”), a company that does substantive litigation consulting (see 3/23/06 Hauser Dep. at

  24:20-25:3), and a marketing professor at the Massachusetts Institute of Technology. Dr. Hauser

  admittedly is “not a cigarette expert.” (See Deposition Transcript of John R. Hauser, dated May

  19, 2006 (“5/19/06 Hauser Dep.”) at 616:4-5, attached as Ex. 8 to Margulies Decl.) And that is

  putting it mildly. Before he was hired by plaintiffs’ counsel in this case, he had never done any

  work in the cigarette industry or any study of the cigarette market. (See 3/23/06 Hauser Dep. at

  20:14-20, 41:25-42:19, 183:19-184:5; 5/19/06 Hauser Dep. at 694:21-695:1.) Even after being

  engaged for this case, he never reviewed the Surgeon Generals’ reports on smoking, the FTC’s

  reports on cigarettes, the Public Health Service’s various cigarette reports, or the FTC’s rules on


                                                  -6-
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 12 of 55 PageID #:
                                  58019



  the measurement and reporting of tar and nicotine. (See 3/23/06 Hauser Dep. at 60:20-61:10,

  65:2-11, 118:12-119:3.) He has not conducted any research on cigarettes. (See id. at 22:12-23;

  5/19/06 Hauser Dep. at 694:21-695:1). Nor has he ever performed studies on any product

  labeled as “light.” (3/23/06 Hauser Dep. at 22:22-23:23.)

         Dr. Hauser delegated virtually all of the work related to the conjoint survey to Steven P.

  Gaskin, another Senior Consultant at AMS, and to other AMS employees. (See 12/19/05 Hauser

  Rept. ¶ 7; 3/23/06 Hauser Dep. at 25:9-10; 78:24-79:9; 5/9/06 Gaskin Dep. at 28:2-5, 129:4-15,

  150:25-151:8, 164:14-17.) They, too, had never studied the cigarette market and made no review

  of professional or lay literature to dilute their ignorance on the subject. (See Deposition

  Transcript of Steven P. Gaskin dated May 9, 2006 (“5/9/06 Gaskin Dep.”) at 23:16-18, 24:23-25,

  69:8-18, attached as Ex. 9 to Margulies Decl.); Deposition Transcript of Shelley R. Schussheim

  dated May 10, 2006 (“5/10/06 Schussheim Dep.”) at 21:22-22:18, attached as Ex. 10 to

  Margulies Decl.) He also delegated virtually all of the work in the time study to Mr. Gaskin.

  Dr. Hauser did not conduct any of the pretest interviews for either survey, did not construct the

  outline of questions for such interviews, did not draft the questionnaires that were finally

  administered, and did not write the first draft of his expert report on the conjoint survey.4

  III.   THE CONJOINT STUDY

         Plaintiffs’ counsel asked Dr. Hauser to offer his expert opinions as to “the value and

  importance of health risks to ‘light’ cigarette consumers in their decision to purchase a ‘light’

  cigarette.” (12/19/05 Hauser Rept. ¶ 4.) To reach his conclusions, Dr. Hauser conducted an

  internet survey of current light cigarette smokers using a methodology known as “web-based

         4
           See 3/23/06 Hauser Dep. at 79:4-14, 84:9-12; 5/19/06 Hauser Dep. at 643:9-16,
  645:10-646:21, 651:2-11; 5/9/06 Gaskin Dep. at 28:6-10, 150:25-151:19, 152:12-15, 167:4-
  169:2, 215:8-10.




                                                  -7-
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 13 of 55 PageID #:
                                  58020



  conjoint analysis.” (12/19/05 Hauser Rept. ¶ 15.) Conjoint analysis provides a means for

  determining within a limited bundle of product attributes, those features that consumers prefer

  and the relative weight (or “part-worth”) that each feature contributes to choice. (See David W.

  Stewart Expert Rebuttal Report (“Stewart Rebuttal Rept.”) ¶ 21, attached as Ex. 13 to Margulies

  Decl.; 12/19/05 Hauser Rept. ¶¶ 15-20.) Dr. Hauser’s survey was in two parts. First, consumers

  were asked about their perception of the relative taste and health risk of the light cigarettes they

  smoke. (See 12/19/05 Hauser Rept. Ex. D at E19 & E20; 5/19/06 Hauser Dep. at 695:18-696:8.)

  Second, the survey created an artificial world in which respondents were presented with

  hypothetical cigarettes and asked to choose between them. (See 12/19/05 Hauser Rept. ¶ 30 &

  Ex. D at E22; 3/24/06 Hauser Dep. at 426:21-427:10.)

         A.      Study Design

                 1.      Dr. Hauser Made An Unwarranted A Priori Decision to Test Four
                         Product Attributes

         Though he has never studied cigarettes or the cigarette industry, Dr. Hauser purported to

  “identify[] the features that drive ‘light’ cigarette consumers’ purchases of cigarettes” before

  drafting the questionnaire for his conjoint survey. (12/19/05 Hauser Rept. ¶ 22.) He did this

  without conducting any systematic research or reviewing any of the literature that has been

  published by the Surgeon General, Morbidity and Mortality Weekly Report (“MMWR”), or

  other sources. (See 5/19/06 Hauser Dep. at 803:18-22, 823:17-824:13; 5/9/06 Gaskin Dep. at

  69:8-18.) Nor did Dr. Hauser consult any internal cigarette company memoranda or marketing

  information. (See 5/19/06 Hauser Dep. at 669:11-673:5, 728:3-13.) Instead, Dr. Hauser and his

  associates made an a priori assumption that four product attributes drive consumers’ choices in

  the market for lights cigarettes: pack type (hard or soft), taste, price, and degree of perceived

  health risk. (See 5/10/06 Schussheim Dep. at 75:25-76:5 (“Q. Did you go into the interviews




                                                  -8-
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 14 of 55 PageID #:
                                  58021



  with any hypotheses as to the attributes that smokers used in choosing to . . . smoke the cigarettes

  they did? A. I believe we did.”) They were apparently oblivious to the fact that two of the four

  attributes that they used—price and pack type—are meaningless when considered as drivers of

  purchase decisions because all light cigarettes actually sold in the market have always been

  priced the same as their counterpart full-flavor cigarettes, and nearly all brands of cigarettes are

  available in both hard and soft pack. (See Deposition Transcript of John C. Beyer dated June 2,

  2005 at 14:5-15, attached as Ex. 31 to Margulies Decl.; Declaration of Bruce Neidle dated June

  30, 2005 ¶¶ 4, 9, attached as Ex. 32 to Margulies Decl.)

         All that Dr. Hauser and his associates did to learn about what product attributes drive

  consumer preferences in the light cigarette market was to conduct “qualitative” interviews with

  14 respondents from the Boston area. (See 3/23/05 Hauser Dep. 172:10-20.) These fourteen

  respondents were not representative of light smokers nationwide, however. (See id. at 173:7-

  180:17.) Nor were they representative of smokers of all sixty-five brands of light cigarettes at

  issue in this case. (See id.) Moreover, even though several of these respondents told Dr.

  Hauser’s associates that product attributes such as the length of the cigarette, what brand it is,

  whether it has a filter, and whether it is mentholated were important to them in choosing what

  cigarettes to purchase (see 3/23/06 Hauser Dep. Ex. 13, attached as Ex. 5 to Margulies Decl.),

  Dr. Hauser did not change his a priori assumptions of what product attributes he deemed to be

  important to consumers’ purchase decisions. (See 12/19/05 Hauser Rept. Ex. D at E13). Had

  Dr. Hauser researched the issue, he could have learned about systematic studies concluding that

  features such as brand image, mentholization, cigarette length, tar and nicotine content, and

  whether a cigarette is filtered or unfiltered are indeed important drivers of consumers’ purchase

  decisions. (See Expert Report of Dr. Wayne S. DeSarbo dated May 3, 2006 (“DeSarbo Rept.”)




                                                  -9-
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 15 of 55 PageID #:
                                  58022



  at 12-13, attached as Ex. 11 to Margulies Decl.; Expert Report of James J. Heckman dated April

  30, 2006 (“Heckman Rept.”) ¶ 36, attached as Ex. 12 to Margulies Decl.; Stewart Rebuttal Rept.

  ¶ 28.)

                  2.      Dr. Hauser Made An Unwarranted A Priori Decision to Aggregate All
                          65 Brands At Issue

           Dr. Hauser also made an a priori decision to aggregate the sixty-five different brands of

  light cigarettes listed in Appendix A to the Second Amended Complaint. He did not perform or

  rely upon any studies to determine whether smokers of all light brands can be studied as a large

  group. (See e.g., 3/23/06 Hauser Dep. at 147:16-151:22; 3/24/06 Hauser Dep. at 346:24-347:6.)

  Dr. Hauser simply assumed that the influences on purchase decisions of light cigarette smokers

  of different brands are not significantly different. That assumption is unreasonable without

  appropriate empirical data and sensitivity analyses to support it. (See Viscusi Rept. ¶ 57.)

  Indeed, Dr. Hauser's own data shows that smokers of certain brands vary widely from smokers of

  other brands in their "willingness to pay" for a safer cigarette. (See pp. 32-33, infra.)

                  3.      The Pretest Was Inadequate

           Dr. Hauser’s associates pre-tested the questionnaire that he used for the conjoint study

  with only nine respondents, all local to Boston. (See 3/23/05 Hauser Dep. at 172:10-20.) Of

  course, these nine respondents were not representative of lights smokers nationwide. (See id. at

  173:7-180:17.) Nor were they representative of all of the brands at issue in this case. (See id. at

  275:12-24.) Indeed, they were not even randomly chosen. (See id. at 173:8-5.)

           While the ostensible purpose of the pre-test was to determine whether the questions to be

  used in the conjoint survey were ambiguous (see 12/19/05 Hauser Rept. ¶ 23), Dr. Hauser and

  his associates did not know what wording might be considered ambiguous because they have

  never studied the market for cigarettes. For example, although the survey asks respondents to




                                                  - 10 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 16 of 55 PageID #:
                                  58023



  make choices between “regular” and “light” cigarettes—and Dr. Hauser bases his opinions on

  analysis of the data from such questions—the term “regular” relates to unfiltered cigarettes for

  many smokers and likely relates to full flavor filter cigarettes to others. (See Deposition

  Transcript of Jeffrey E. Harris dated March 9, 2006 at 453:11-20, attached as Ex. 21 to

  Margulies Decl.) Dr. Hauser’s assumption, having not studied cigarette advertising or

  marketing, was that “regular” cigarettes are filtered, with reduced levels of tar and nicotine, and

  he never tested consumers’ understanding of the term. (See 3/24/06 Hauser Dep. at 378:11-

  380:12, 383:8-25, 390:15-21, 395:1-396:11.) Mr. Gaskin and Dr. Hauser do not know what the

  respondents in the conjoint survey understood this critically important term to mean. (See 5/9/06

  Gaskin Dep. at 173:10-14 (“I don't know if they meant filtered or unfiltered.”); 3/23/06 Hauser

  Dep. at 86:5-25.)

                 4.      The Survey Was Administered To A Sample That Is Not
                         Representative Of The Proposed Class

         The conjoint survey was conducted after the pre-test and the qualitative interviews. The

  respondents who were polled in the conjoint survey were not representative of the proposed class

  in this case, however. While plaintiffs define the class as current and former light cigarette

  smokers in the United States since 1971, (see Pls’ Mot. for Class Cert. at 1-2, attached as Ex. 33

  to Margulies Decl.), Dr. Hauser’s survey attempted to poll only current light cigarette smokers.

  (See 5/19/06 Hauser Dep. at 675:24-684:11.) Even though former smokers are a large portion of

  the proposed class, Dr. Hauser simply assumed that they would value health risks in exactly the

  same manner as current smokers. Moreover, Dr. Hauser made no effort to poll a representative

  sample of smokers of all sixty-five brands at issue in this case. (See Viscusi Rept. ¶ 44.) And

  some of the respondents smoked brands that are not even part of this litigation. (See id.)




                                                 - 11 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 17 of 55 PageID #:
                                  58024



         In addition, respondents were not randomly chosen. They were all Internet users who

  volunteer to take all sorts of surveys in exchange for cash rewards. (See 12/19/05 Hauser Rept.

  at 12-13; Hauser 3/23 Dep 44:25-45:12, 46:25-47:2, 234:7-15; 3/24/06 Hauser Dep. at 457:16-

  459:15.) Internet users are not representative of the general population. (See Stewart Rebuttal

  Rept. ¶ 47 & n.21.) And, because internet users are generally younger and white, have attained a

  higher education, and have a higher household income than the general population, (see id.), they

  are even less representative of cigarette smokers in general. See MMWR, Cigarette Smoking

  Among Adults - United States, 2004, attached as Ex. 16 to Margulies Decl. (showing that the

  prevalence of cigarette smoking is higher among adults living below the poverty level, and

  smoking prevalence generally decreased with increasing years of education).

         Moreover, Dr. Hauser’s quota sampling procedure attempted to match the national

  demographics of the entire U.S. population with respect to four census variables: sex, age,

  household income, and region of the country (see 12/19/05 Hauser Rept. ¶ 26; 3/23/06 Hauser

  Dep. at 47:23-51:14), rather than with respect to the national demographics of light cigarette

  smokers. (See DeSarbo Rept. at 7-11.) Dr. Hauser ignored demographic information such as

  ethnicity, education, occupation, and employment status. (3/23/06 Hauser Dep. at 51:15-53:8;

  5/9/06 Gaskin Dep. 115:22-116:7.) If he had reviewed public literature such as the Surgeon

  Generals’ reports or the MMWR, he would had known that race and ethnicity are strong

  determinants of brand choice, as are these other factors he ignored.

                 5.     The Questionnaire Presented Choice Sets That Could Not Possibly
                        Exist In The Market

         In the conjoint survey, respondents were shown sixteen different “screen shots” and, for

  each one, asked to choose among four hypothetical cigarette products. (See 12/19/05 Hauser

  Rept. ¶ 30.) They were not given an option to state that they had no preference as between two



                                                - 12 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 18 of 55 PageID #:
                                  58025



  or more of the options. (See id. Ex. D at E22.) As noted, the attributes used were (i) pack type,

  (ii) level of perceived health risk, (iii) taste, and (iv) price. (See id. ¶ 30.)

          The description of the product attributes that Dr. Hauser used were highly leading.

  Critically, for “level of perceived health risks,” respondents were told to assume that cigarettes

  “vary on health risks” and that there is a hierarchy of risks among cigarettes, ranging through

  “greater than a regular,” “the same as a regular,” “the same as light,” “the same as ultra-light,”

  and “less than ultra-light.” (12/19/05 Hauser Rept. Ex. D at E15.) In the same screen shot, the

  respondents were inconsistently told to suspend any disbelief they may have and make a wholly

  unrealistic assumption that “taste can be controlled . . . without changing the health risks

  associates with smoking the cigarette.” (Id., Ex. D at E16.)

          When respondents were asked to choose among hypothetical products, they were

  confronted with products that are not actually sold on the market. They were then instructed to

  assume that such products exist and make imaginary choices among them. For example,

  respondents were presented with cigarettes that have “health risks greater than regular cigarettes”

  and cigarettes with “health risks less than ‘ultra-light’ cigarettes” (12/19/05 Hauser Rept. Ex. D

  at E15, E22), as well as cigarettes that cost 50% more or less than what the consumer now pays.

  (See id., Ex. D at E17, E22.) Dr. Hauser’s study also tested no-brainer, fantasy-land “choices”

  such as between (a) a cigarette that tastes the same as a regular cigarette and has the same health

  risks as an ultra light cigarette, for 20% less than what the respondent currently pays; and (b) a

  cigarette that tastes the same as an ultra light cigarette and has a greater health risk than a regular

  cigarette, for 20% more then what the respondent currently pays. (See id., Ex. D at E22.)




                                                    - 13 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 19 of 55 PageID #:
                                  58026



          B.      The Conjoint Study Has No Application To This Case

                  1.      The Study Is Not Probative Of Class Members’ Reliance

          Dr. Hauser admits that his conjoint study does not address whether the respondents relied

  on cigarette companies’ alleged misrepresentations in purchasing light cigarettes. (See, e.g.,

  5/19/06 Hauser Dep. at 909:19-910:2.) Specifically, as Dr. Hauser concedes, the study does not

  examine whether the “Lights” descriptor caused class members to purchase light cigarettes, even

  though that is the precisely what this case is about. (See 3/23/06 Hauser Dep. at 226:17-21 (“I

  did not do any analysis of why those people chose light to determine whether or not it had ‘light’

  on the pack or whether they had some other -- some other reason for buying it.”); id. 230:21-

  231:4 (“Now, I don’t know and I have not done a survey to determine the impact of the word

  ‘light,’ specific -- taken totally as separately what that has on health risk. . . . so I am not

  providing an expert opinion as to whether or not light is the driver of health risk or taste.”) And,

  critically, the survey did not determine what the respondents know about the potential dangers of

  light cigarettes in relationship to other cigarettes, or from what sources light cigarette smokers

  developed their beliefs about the dangers of smoking light cigarettes. (See id. at 222:10-225:13.)

  Thus, Dr. Hauser cannot give an opinion concerning whether respondents acquired their beliefs

  about the health risks of light cigarettes from defendants’ use of the descriptor “Light” or

  through awareness of statements by the Surgeon General, the Federal Trade Commission, the

  public health community, their physicians, or statements from any source other than defendants.

  (See id. at 222:10-226:21.)

          The conjoint study also did not address other causal factors, such as whether the

  respondents would have started or stopped smoking if they had perceived that light cigarettes

  posed the same health hazards as full-flavored cigarettes. (See 3/24/06 Hauser Dep. at 346:1-19;

  347:20-348:6, 487:7-17.) Nor did it attempt to estimate the number of light cigarette smokers


                                                   - 14 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 20 of 55 PageID #:
                                  58027



  who purchased light cigarettes in reliance on perceived health characteristics. (See id. at 449:6-

  16.) The study also did not seek to determine why consumers switch from one brand to another

  during their smoking history. (See id. at 346:20-347:6.) Nor did it attempt to determine what

  any respondent’s second choice would be if their cigarette of choice were not available. (3/23/06

  Hauser Dep. at 221:8-16.) For instance, Dr. Hauser cannot opine on whether a Marlboro Lights

  smoker is more likely to choose another Marlboro product, another “Lights” product, another

  cigarette, or no other cigarette if Marlboro Lights were not available in the marketplace. (See id.

  at 221:24-222:9.)

                 2.      The Study’s Central Finding Is Not Probative Of Any Issue In This
                         Case

         The conjoint study was designed to determine how current light cigarette smokers

  subjectively value health risks in the abstract. (See 12/19/05 Hauser Rept. ¶ 4; see also 3/23/06

  Hauser Dep. at 220:11-15.) (“Q. What was the specific question that you sought to answer here?

  A. Well, the specific question that I was asked to look into was how people value health risks.”)

  But it does not answer whether, in the real world, the respondents’ cigarette choice was actually

  based upon health concerns. Rather, Dr. Hauser’s central “finding” that 90% of light cigarette

  consumers value health in choosing their cigarettes is based on a sanity test: all things being

  equal, including taste, would you choose a hypothetical cigarette that was more dangerous than a

  regular cigarette or less dangerous than an ultra light cigarette? (See, e.g., 12/19/05 Hauser Rept.

  ¶¶ 44, 46; 3/24/06 Hauser Dep. at 504:1-24; id. at 424:19-425:1 (“What this says is that for -- my

  best estimate is that 90.1% of the respondents, if given the choice between two otherwise totally

  identical cigarettes, one of which had less health risk and the other of which had more health




                                                 - 15 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 21 of 55 PageID #:
                                  58028



  risk, then they would value that choice and choose the one with less health risk.”)5 Indeed, the

  question was so tautological and the formula was so loaded that Dr. Hauser testified that the

  deviation from 100% might be considered error. (See 3/24/06 Hauser Dep. at 424:2-425:23.)

         Moreover, this 90% figure represents respondents who “place a positive value on health

  and are willing to trade off health versus other aspects.” (3/24/06 Hauser Dep. at 504:19-21.) As

  Dr. Hauser’s own data shows, however, there is no trade off in the real world. Over 90% of

  respondents in the conjoint study said that they prefer the taste of lights. (See 5/19/06 Hauser

  Dep. at 705:3-706:1.) And only 2% of the respondents said that they prefer the taste of “regular”

  cigarettes to light cigarettes, while the remaining 8% stated that they rate the taste of light

  cigarettes to be equal to “regular” cigarettes. (See id. at 704:10-18, 724:20-728:2.) Accordingly,

  even assuming that light cigarettes are as harmful as full-flavor cigarettes and that consumers

  relied on defendants’ purportedly fraudulent use of “lights” in deciding to buy light cigarettes6—

  as the complaint alleges—Dr. Hauser’s data shows that at least 90% of consumers of light

  cigarettes will nevertheless continue to buy light cigarettes, all other things being equal. (See

  Hauser Dep. at 727:16-728:2.) This is a matter of common sense: if consumers have to choose

  between two cigarettes with the same health risks, the self-evident choice is the cigarette with the

  better taste. Thus, the vast, vast majority of the proposed class cannot possibly have a fraud

  claim against defendants. For them, there was no trade-off between health risks and taste,


         5
            Also, 81.6% of those survey respondents who placed a positive value on health risk did
  not perceive health risk as the most important contributing factor in their purchase of light
  cigarettes; for them, taste, price, or pack type were more important. (See 12/19/05 Hauser Rept.
  at ¶ 46; 3/24/05 Hauser Dep. at 416:6-12 (“I am accurately reporting that 18.4 percent of these
  consumers find health risk to be the most important; therefore, . . . 81.6 percent of the consumers
  find one of the other four features to be more important than health risks.”).
         6
         And also assuming, among other things, that the class or some portion of it is not barred
  by RICO’s four-year statute of limitations.




                                                  - 16 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 22 of 55 PageID #:
                                  58029



  because they prefer the taste of light cigarettes and would therefore choose to purchase light

  cigarettes even if they believed them to be as dangerous as full-flavor cigarettes. (Id.)

                         a.      The Conjoint Study Produced Irrational Results

         The conjoint study is a textbook illustration of the adage, “Ask a silly question, get a silly

  answer.” Asked to make choices among hypothetical cigarette products and suspend their

  disbelief about the trade-offs between taste and health risk, respondents gave answers that lead to

  some absurd conclusions:

         •       More than half of the respondents in the survey placed a greater value on mythical
                 cigarettes with health risks that they were asked to assume was higher than
                 another otherwise identical mythical cigarette. (See Viscusi Rept. ¶ 95.) In other
                 words, if it is to be believed, Dr. Hauser’s survey shows that more than 50% of
                 respondents would rather have a more dangerous cigarette, other things being
                 equal.

         •       More than half the sample, or 330 respondents, rated the risk of ultra light
                 cigarettes as being lower than that of light cigarettes, but the majority of those
                 respondents (182) valued the health attributes of light cigarettes more than the
                 health attributes of ultra light cigarettes. (See id. ¶ 121.)

         •       One quarter of the respondents preferred to pay more for identical cigarettes, and
                 17% of the respondents would rather pay 20% less than 50% less for an identical
                 cigarette. (See id. ¶ 98.)

         •       Nearly a third of the respondents indicated a preference for one type of pack (hard
                 or soft), but placed a higher value on the other type of pack. (See id. ¶ 104.)

         •       Ninety-two percent of the respondents who indicated that a “regular” cigarette
                 tastes better than a light cigarette placed a higher value on the taste of a light
                 cigarette. (See id. ¶ 109.)

  IV.    THE TIME STUDY

         On October 6, 2005, the Court denied defendants’ motion for summary judgment on

  statute of limitations grounds, with leave to renew the motion upon the completion of discovery.

  The Court noted that plaintiffs have a “troubling critical problem” concerning the statute of

  limitations in this case. (Memorandum and Order dated October 6, 2005 at 10, attached as Ex.




                                                 - 17 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 23 of 55 PageID #:
                                  58030



  23 to Margulies Decl.) Namely, RICO’s four-year statute of limitations would bar all members

  of the class who became aware before May 2000 (four years before plaintiffs filed the complaint

  in May 2004) that light cigarettes “were not appreciably safer for them than regular cigarettes.”

  (Id.) The Court ruled that, in light of the showing defendants had made that some members of

  the class were “almost certainly” time-barred, any recovery by plaintiffs “would have to depend

  upon a statistical analysis to estimate how many smokers knew what and when.” (Id. at 11.)

  Specifically, the Court suggested that plaintiffs submit a statistical analysis “showing how many

  smokers of ‘light’ cigarettes were ignorant of the alleged fraud in each relevant year.” (Id.)

         Plaintiffs’ counsel asked Dr. Hauser to conduct another survey, the so-called “time

  study,” in response to the Court’s statute of limitations ruling. (See Draft Expert Witness Report

  by John R. Hauser dated December 16, 2005 (“12/16/05 Hauser Draft Rept.”) ¶¶ 59-60, attached

  as Ex. 2 to Margulies Decl.) The time study questionnaire, like the conjoint study questionnaire,

  was developed through pretests. (See id. ¶ 72.) The size of the sample to be polled was 1,026

  (two-thirds larger than the sample in the conjoint survey), and the costs were considerable,7 so

  the questionnaire was not administered until it was assured that respondents could understand it

  and respond to it appropriately. (See id. ¶¶ 72, 74; 5/9/06 Gaskin Dep. at 57:24-58:6.) Unlike

  the conjoint study, which addressed hypothetical product configurations, the time study

  addressed cigarettes as they are actually marketed. (See 5/9/06 Gaskin Dep. at 184:10-15.) And

  the time study, unlike the conjoint study, included both current and former light cigarette

  smokers—as does the proposed class. (See 5/19/06 Hauser Dep. at 675:17-23, 690:2-7.)

         On or about December 16, 2005, Dr. Hauser prepared a draft expert report, which

  memorialized the findings of his time study. The December 16 draft stated that the time study is

         7
             Polling alone cost almost $40,000. (See 5/9/06 Gaskin Dep. at 188:3-19.)




                                                 - 18 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 24 of 55 PageID #:
                                  58031



  valid and that its results can be relied upon by the Court.8 (See 12/16/05 Hauser Draft Rept.

  ¶¶ 16-18, 113.) Similarly, Mr. Gaskin testified that at the time he and Dr. Hauser drafted the

  December 16 report, he believed the survey was valid (see 5/9/06 Gaskin Dep. 211:4-25), and

  that it would be submitted to the Court as a final report, as no further research was necessary.

  (See id. at 243:15-23, 256:5-13.)

         The results of the time study were devastating to plaintiffs’ case, however. It showed that

  only 15% of current and former lights smokers believed that light cigarettes are less harmful than

  regular cigarettes, and that a majority of respondents said they had always believed that light

  cigarettes were at least as dangerous as regular cigarettes. (See 12/16/05 Hauser Draft Rept.

  ¶ 93; see also 5/9/06 Gaskin Dep. at 263:16-21 (admitting that almost 82% of all respondents

  who had an opinion said that they believed that smoking light cigarettes had the same health



         8
            On March 21, 2006, this Court affirmed Judge Gold’s order granting defendants’
  motion to compel disclosure of all materials related to Dr. Hauser’s time study. See Schwab v.
  Philip Morris USA, Inc., No. 04-CV-1945 (JBW), 2006 WL 721368, at *4 (E.D.N.Y. March 20,
  2006). Plaintiffs had resisted defendants’ request for discovery, contending that: (a) the survey
  was not “complete” and had not “produced any finding” (see, e.g., Letter from Brent W. Landau
  to Paul Koethe dated January 23, 2006 (“1/23/06 Ltr.”) at 2, attached as Ex. 17 to Margulies
  Decl.; Letter from Brent W. Landau to The Honorable Steven M. Gold dated February 9, 2006
  (“2/9/06 Ltr.”) at 3, attached as Ex. 18 to Margulies Decl.; Plaintiffs’ Objections to the
  Magistrate Judge’s Order Regarding Production of Materials Related to Dr. Hauser’s Attempted
  Survey (“3/2/06 Objections”) at 8, attached as Ex. 19 to Margulies Decl.); (b) the survey was
  intended as an experiment for counsel, not for disclosure to the Court, and therefore was “work
  product” (see, e.g, 2/9/06 Ltr. at 4; 3/2/06 Objections at 6-7); (c) the survey consisted of only
  “raw, unanalyzed data” (see, e.g., 2/9/06 Ltr. at 4; 3/2/06 Objections at 9); and (d) Dr. Hauser not
  only did not rely on the survey, but did not even “consider” it in forming his ultimate opinions
  (see, e.g., 1/23/06 Ltr. at 2; 3/2/06 Objections at 5-6; Transcript of Hearing dated March 17, 2006
  (3/17/06 Tr.”) at 3, 8-9, attached as Ex. 26 to Margulies Decl.)). Materials produced by
  plaintiffs make clear, however, that Dr. Hauser in fact completed his second survey, performed a
  host of complex statistical analyses of the data, and prepared several draft litigation reports, all
  before he filed his final December 19, 2005 report. (See, e.g., 12/16/05 Hauser Draft Rept.;
  Draft Expert Witness Report by John R. Hauser dated December 19, 2005 (“12/19/05 Hauser
  Draft Rept.”), attached as Ex. 3 to Margulies Decl.)




                                                 - 19 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 25 of 55 PageID #:
                                  58032



  risks as smoking regular cigarettes).9 Class members who do not believe that light cigarettes are

  less harmful than regular cigarettes were not defrauded by defendants and have no RICO

  damages. Dr. Hauser’s time study therefore eviscerated the class.

         Dr. Hauser’s report on the time study was due to be served on Monday, December 19,

  2005. On or shortly before December 16, Mr. Gaskin reported the results of the study to

  plaintiffs’ counsel, Paul Gallagher. Then, on December 16, Mr. Gallagher promptly boarded a

  plane to Boston to discuss the draft report with Dr. Hauser and Mr. Gaskin. (See 5/19/06 Hauser

  Dep. at 851:19-852:2; 5/9/06 Gaskin Dep. at 213:7-11, 218:5-17.) Even though plaintiffs’

  counsel had already vetted all of the time survey questions before they were administered to

  respondents (see 5/19/06 Hauser Dep. at 777:24-781:9, 783:4-784:7; 5/9/06 Gaskin Dep. 53:19-

  55:25, 240:18-23), Mr. Gallagher told Dr. Hauser and Mr. Gaskin for the first time that the

  survey had asked the “wrong question”; he told them he was not interested in when people came

  to believe that lights were not safer, but only when they changed their mind specifically as a

  result of information in government reports. (See 5/9/06 Gaskin Dep. at 220:17-221:12, 234:22-

  235:5, 241:20-242:36.)10 That was the first time plaintiffs’ counsel had ever told Mr. Gaskin that

  this was the supposed purpose of the study.



         9
            One of the questions asked on the time survey was “Do you personally believe that
  smoking light cigarettes has more health risks than smoking regular cigarettes, the same health
  risks as smoking regular cigarettes, less health risks than smoking regular cigarettes or I don’t
  know and not sure?” (5/9/06 Gaskin Dep. at 238:4-16).
         10
            The time study did not limit the sources of information from which consumers could
  have formed their beliefs. (See 5/9/06 Gaskin Dep. at 240:24-241:12 (Q. “[I]t was your personal
  understanding based upon all you have your conversations with counsel and your reading of
  Judge Weinstein’s opinion and any other information that you had at your disposal, that you
  were testing light smokers’ beliefs and awareness on the basis of what they had heard from all
  sources, not just from the government; is that correct?” A. “It was my belief that the information
  could come from any source.”).




                                                 - 20 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 26 of 55 PageID #:
                                  58033



         The Court never gave any indication that it is only interested in consumers’ beliefs based

  on government reports. To the contrary, the Court explicitly rejected plaintiffs’ argument that

  there was universal public ignorance before the publication of Monograph 13 in 2001 just as the

  Court rejected plaintiffs’ other universality arguments. (See, e.g., Memorandum and Order dated

  October 6, 2005 at 7 (“[D]efendants make a strong case that plaintiffs knew or should have

  known of their claimed economic injuries years before 2000. A number of reports appeared in

  newspapers, popular magazines, textbooks, government Pamphlets television news programs and

  public service announcements from the late 1950s to the present indicating that light cigarettes

  were not as safe as portrayed by the defendants."), attached as Ex. 23 to Margulies Decl.; 3/17/06

  Tr. at 26:1-5 (“MR. HAUSFELD: How did the public know about a fraud that is denied to this

  day existed? COURT: I don’t care about that. You have to deal with the knowledge of your

  clients and when and how and what was in the public domain, what was available to them.”)

  (emphasis added))

         Mr. Gaskin testified at his deposition that, “but for” the intervention of plaintiffs’ counsel

  on Friday December 16, the December 16 draft report would have been filed with the Court in

  substantially the same form on Monday, December 19. (See 5/9/06 Gaskin Dep. at 254:24-

  256:13.) He further testified that Dr. Hauser communicated to him that the report would be filed

  in substantially that form. (See id.) That report stated that “[t]he scientific methodology used to

  design, execute, and analyze the Time Study in this report is sound, reliable, and valid” and that

  the study “can be relied upon as evidence” in response to the issues identified in the Court’s

  statute of limitations order. (12/16/05 Hauser Draft Rept. ¶¶ 113-14.) Dr. Hauser now says that

  he had qualms about the reliability of the survey (although his draft report, which he personally

  authored, said the pretests “ensured” that respondents understood the questions and that the




                                                 - 21 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 27 of 55 PageID #:
                                  58034



  results were reliable). (See id. ¶ 72.) In any event, over the ensuing weekend, Dr. Hauser

  prepared a new draft report that totally re-characterized the time study, its significance, and

  reliability.

          In the December 19 draft report, the name of the study suddenly changed from the “Time

  Study” (see, e.g., 12/16/05 Hauser Draft Rept. at 31) to the “Experimental Time Study (Draft).”

  (12/19/05 Hauser Draft Rept. at p.31) According to Mr. Gaskin, however, neither he nor Dr.

  Hauser ever referred to the time study as “experimental” during the time they conducted it. (See

  5/9/06 Gaskin Dep. at 252:9-14.) And, where Dr. Hauser’s December 16 draft referred to a

  study “to provide survey evidence about two issues” (Hauser 12/16 Draft Rept. ¶ 61), the

  December 19 draft report referred to a study “to determine whether it was feasible to obtain

  accurate survey evidence about two issues.” (12/19/05 Hauser Draft Rept. ¶ 60.) Rather than

  find — as the December 16 draft had — that the time study was solid, reliable, and valid (see

  12/16/05 Hauser Draft Rept. ¶ 113), the December 19 draft asserted that the “Experimental Time

  Study” was just a trial balloon, and that due to Dr. Hauser’s lack of confidence in the study,

  further research would not be performed “for all respondents.” (See, e.g., 12/19/05 Hauser Draft

  Rept. ¶¶ 104, 115.) Meanwhile, plaintiffs’ counsel had repeatedly represented to the Court that

  Dr. Hauser’s time study would be complete by December 19, without once mentioning the

  purported “experimental” nature of the inquiry. (See Transcript of Hearing dated November 18,

  2005 at 15:10-14, attached as Ex. 35 to Margulies Decl; Transcript of Civil Cause for Telephone

  Conference dated October 26, 2005 at 6:10-23, attached as Ex. 36 to Margulies Decl.)

          Dr. Hauser’s stated reason for doubting the validity of the time study was that he was

  “informed” of the state of the public health community’s knowledge circa 2001:

                 I am informed that the public health community did not reach a
                 consensus that ‘light’ cigarettes had the same health risk as regular



                                                 - 22 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 28 of 55 PageID #:
                                  58035



                 cigarettes until approximately 2001. If this is the case and if
                 respondents did not have a means to form those beliefs prior to
                 2001, then it appears that respondents are either telescoping their
                 responses to earlier dates, remembering other events, or some other
                 reporting error.

  (12/19/05 Hauser Draft Rept. ¶ 96.) Dr. Hauser admits that he relied solely on plaintiffs’ counsel

  for this “information” that purportedly caused him to lose faith in the time study. (See 5/19/06

  Hauser Dep. at 823:8-24 (Q. “[W]ho informed you that the public health community did not

  reach a consensus that light cigarettes have the same health risk as regular cigarettes until

  approximately 2001?” A. “. . . Mr. Gallagher told me that other experts would testify to this

  information.” Q. “So this information comes exclusively from Mr. Gallagher; is that correct?

  That is the only basis of information for that first sentence, "I am informed that the public health

  community. . .:" A. “Well, I am informed, yes. Mr. Gallagher said there is information, and that

  is why I put this caveat in there.”))

         Later on December 19 — and again based on the suggestion of plaintiffs’ attorneys —

  Dr. Hauser’s report was further revised to omit nearly all references to the time study. (See

  5/19/06 Hauser Dep. at 861:21-862:20.) In the version of Dr. Hauser’s expert report that was

  ultimately submitted to defendants, the time study is mentioned only in a single footnote, which

  reads, in part: “After attempting to conduct such a survey, I have concluded that I would have

  little confidence that the responses would be sufficiently accurate. I do not rely on any such

  survey as part of my expert opinions in this case.” (Hauser 12/19 Rpt ¶ 4 n. 2; see also 5/19/06

  Hauser Dep. at 861:15-19.)




                                                 - 23 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 29 of 55 PageID #:
                                  58036



                                             ARGUMENT

  I.     DR. HAUSER’S TESTIMONY AND CONJOINT STUDY MUST BE EXCLUDED
         FROM EVIDENCE UNDER DAUBERT AND RULE 702

         The Court must evaluate the admissibility of Dr. Hauser’s testimony and conjoint study

  for gatekeeping purposes under Rule 702 of the Federal Rules of Evidence. See Kumho Tire Co.

  v. Carmichael, 526 U.S. 137 (1999); Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S.

  579 (1993).11 “The admissibility of expert testimony concerning the results of a survey is

  dependent upon the qualification of the witness, the helpfulness of the testimony to the trier of

  fact, and the reliability and ‘fit’ of the testimony.” 4 WEINSTEIN’S FEDERAL EVIDENCE §

  702.06[3] at 702-136, 137 (2d ed 1998) (citations omitted). “The reliability and ‘fit’ of the

  survey witness’s testimony, in turn, depends on the reliability and trustworthiness of the survey

  itself.” Id. at 702-137. See also Toys “R’’ Us, Inc. v. Canarsie Kiddie Shop, Inc., 559 F. Supp.

  1189, 1205 (E.D.N.Y. 1983) (“Having excluded the survey, I also excluded the opinions of the

  experts which were based on that survey.”) (citing Fed. R. Evid. 703).

         A.       Dr. Hauser’s Opinions Will Not Aid The Jury In Resolving Any Issue In
                  Dispute

         Dr. Hauser’s proffered testimony fails Daubert’s “fit” requirement. See 509 U.S. at 591-

  92 (interpreting Rule 702 as requiring “expert testimony proffered in the case [to be] sufficiently


         11
              Rule 702 provides:
                  If scientific, technical, or other specialized knowledge will assist
                  the trier of fact to understand the evidence or to determine a fact in
                  issue, a witness qualified as an expert by knowledge, skill,
                  experience, training, or education, may testify thereto in the form
                  of an opinion or otherwise, if (1) the testimony is based upon
                  sufficient facts or data, (2) the testimony is the product of reliable
                  principles and methods, and (3) the witness has applied the
                  principles and methods reliably to the facts of the case.
  Fed. R. Evid. 702 (as amended Dec. 1, 2000).




                                                  - 24 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 30 of 55 PageID #:
                                  58037



  tied to the facts of the case that it will aid the jury in resolving a factual dispute”). Dr. Hauser

  does not provide any aggregate data to show what portion of the proposed class, if any, relied on

  defendants’ alleged fraud in purchasing light cigarettes.

         Plaintiffs allege that defendants conspired to “defraud the public into believing that light

  cigarettes were a healthy alternative to regular cigarettes, or even quitting, in order to maximize

  sales and profits.” See, e.g., Second Am. Compl. ¶ 200 (incorporated by reference; Dkt. # 95).

  The claims focus on the “Lights” descriptor.12 To establish RICO damages, plaintiffs must show

  that they relied on defendants’ purportedly fraudulent statement (the use of the descriptor “light”

  to imply that light cigarettes are less dangerous than regular cigarettes) in deciding to purchase

  light cigarettes. See Lerner v. Fleet Bank, N.A., 318 F.3d 113, 123 (2d Cir. 2003) (affirming

  dismissal of RICO claims where plaintiffs had not demonstrated that their injury was

  proximately caused by a pattern of racketeering activity or by individual predicate acts).

  Plaintiffs promised the Court that Dr. Hauser would fill the gap in their proof on reliance, but he

  does not do that.

                 1.      The Conjoint Study Does Not Address Why Class Members Purchase
                         Their Light Cigarettes

         Dr. Hauser’s conjoint study does not even attempt to address class members’ alleged

  reliance. He concedes that he has not used the data from his conjoint study to attempt to

  establish what percentage, if any, of the proposed class can be deemed to have relied on the

  purported fraud in purchasing light cigarettes:


         12
            See Transcript of Hearing dated September 12, 2005 (“9/12/05 Tr.”) at 110
  (HAUSFELD: “We’re focusing on the packages, your Honor, because one of the elements that
  Courts looked at with respect to a RICO fraud violation is: Was the allegation of fraud written or
  oral? Was it uniform or variable? That is all answered by the fact that we are focusing on the
  descriptor lights on each and every package.”), attached as Ex. 24 to Margulies Decl.).




                                                    - 25 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 31 of 55 PageID #:
                                  58038



                 Q.      Do you utilize your conjoint analysis to establish . . . the
                 percentage of light smokers who relied on cigarette companies’
                 allegedly false representations in deciding to purchase light
                 cigarettes?
                 A.      I have not personally established all of the items in the
                 predicate to your question.

  (5/19/06 Hauser Dep. at 909:19-910:2.)

          The conjoint survey was not intended, and cannot be used, to determine what the

  respondents knew about the potential dangers of light cigarettes and, more importantly, from

  what source. (See 3/23/06 Hauser Dep. at 222:10-225:13.) As a result, Dr. Hauser is not using

  the conjoint study to support any opinion about what sources of information consumers relied

  upon in choosing to purchase light cigarettes:

                 Q.      And you’re providing no expert opinion on the sources of
                 information that consumers relied upon in choosing light
                 cigarettes, is that correct?

                 A.      I’ve answered that before, but I am not providing an expert
                 opinion with respect to the source of information that consumers
                 used when they made their decision to initially begin smoking light
                 cigarettes.

  (3/24/06 Hauser Dep. at 476:23-477:8; see also 3/23/06 Hauser Dep. at 222:10-225:13.)

          In other words, Dr. Hauser does not know whether respondents purchased light cigarettes

  due to defendants’ allegedly misleading use of the word “Light.” (See 3/23/06 Hauser Dep. at

  222:10-226:21.) Dr. Hauser has, quite simply, “not done a survey to determine the impact of the

  word ‘light,’” and that he is “not providing an expert opinion as to whether or not light is the

  driver of health risk” perceptions. (Id. at 230:21-231:9.) He undertook to estimate only whether

  light smokers value lower health risks, without addressing why they decided to purchase light

  cigarettes:

                 Q.     [Your study] was not designed to determine whether the
                 respondents would have purchased the same cigarettes that they in



                                                   - 26 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 32 of 55 PageID #:
                                  58039



                 fact smoked if those cigarettes did not have the word “light” on
                 them; is that correct?

                 A.       . . . I did not do any analysis of why those people chose
                 light to determine whether or not it had “light” on the pack or
                 whether they had some other -- some other reason for buying it.
                 However, once they did choose light, I now know that they’re
                 willing to basically trade -- they value health risk, they’re pretty
                 uniform in terms of valuing health risk, 90 percent of them at least,
                 and furthermore, that they’re willing to make trade-offs of health
                 risk versus monetary value.

  (Id. at 226:17-21.)

         Dr. Hauser’s study also does not determine whether smokers would not have started

  smoking if they perceived that light cigarettes were as unhealthy as regular cigarettes (see

  3/24/06 Hauser Dep. at 346:1-19), or attempt to estimate the number of light cigarette smokers

  who continued to smoke light cigarettes in reliance on perceived health characteristics. (See id. at

  449:6-16 (Q. “You were offering no opinion as to the number of smokers of light cigarettes who

  continued to smoke in reliance on the health characteristics of low tar or other light cigarettes,

  correct?” A. “I have not completed a study in this case nor have I begun a study in this case of

  smoking cessation.”)

         And the conjoint study does not address whether respondents would have changed their

  behavior even assuming they had perceived light cigarettes to have the same health risks as

  regular cigarettes:

                 Q.      [W]ould it be correct for me to conclude from your
                 statement here on paragraph ten that you’ve determined that 90%
                 of light cigarette consumers would not have purchased lights if
                 they had perceived lights to have the same health risks as regular
                 cigarettes.

                 A.      No. There’s other things that can go into that.




                                                 - 27 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 33 of 55 PageID #:
                                  58040



  (3/24/06 Hauser Dep. at 484:1-16; see also id. 487:7-17.)13 Notably, half of the class

  representatives are still smoking light cigarettes, even though they do not believe that light

  cigarettes reduce health risks. (See Defs’ Opp. to Pls’ Mot. Class Cert. (“Class Cert. Opp.”) at

  22-23, attached as Ex. 30 to Margulies Decl.) Likewise, during the in-depth interviews, several

  individuals said that even if regular cigarettes and light cigarettes had identical health risks, they

  would still prefer lights. (See 3/23/06 Hauser Dep. at 320:23-321:9; id. at Ex. 13 (Jennifer states

  during a pre-survey interview that if lights are as unhealthy as regulars, she wants the light,

  because they taste better), attached as Ex. 5 to Margulies Decl.; id. and 5/9/06 Gaskin Dep. at

  120:4-22 (according to Heinz, if lights and regulars were equally risky, he would smoke lights

  anyway because he prefers the taste); 3/23/06 Hauser Dep. Ex 13 and 5/9/06 Gaskin Dep. 121:3-

  16 (according to Chris, the “bottom line” is “regular cigarettes are harsh”))

         In sum, Dr. Hauser’s conjoint study would not help the jury establish whether plaintiffs

  are entitled to RICO damages, because it does not even attempt to address plaintiffs’ claim that

  defendants’ use of the “Lights” descriptor caused class members to purchase light cigarettes in

  reliance on perceived health benefits. The study merely found that 90.1% of the respondents in

  his survey believe that a cigarette that reduces health risk is better than one that does not, all

  other things being equal. (See 12/19/05 Hauser Rept. ¶¶ 44, 46; 3/24/06 Hauser Dep. at 424:19-

  425:1, 504:1-24.) According to Dr. Hauser, his 90.1% estimate addresses only the value that his

  survey respondents attach to health risks, not whether that percentage or any percentage bought
         13
            Moreover, the study does not purport to estimate the number of consumers who would
  have stopped smoking if they perceived that light cigarettes were as unhealthy as regular
  cigarettes. (See 3/24/06 Hauser Dep. at 347:20-348:6 (“Q. You have made no effort to
  determine what percentage of light cigarette smokers would have stopped smoking if they
  perceived that low tar cigarettes, including lights, were as unhealthy as regular cigarettes,
  correct? A. The focus of the internet survey was to determine consumers' trade-offs between
  health risk, price, taste and other dimensions. The internet conjoint analysis survey was not a
  study of smoking cessation.”))




                                                   - 28 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 34 of 55 PageID #:
                                  58041



  light cigarettes in reliance on the belief that “Lights mean safer.” (See 3/24/06 Hauser Dep. at

  427:20-429:13; 482:14-485:15.)14 “[A] survey may be kept from the jury’s attention entirely by

  the trial judge if it is irrelevant to the issues.” Starter Corp. v. Converse, Inc., 170 F.3d 286, 297

  (2d Cir. 1999). Dr. Hauser’s conjoint study presents such a case.

                 2.      The Conjoint Study Relies Upon False Assumptions About Consumer
                         Choice

         Expert testimony fails Daubert’s “fit” requirement where it relates to “facts or data that

  have not been adequately established in th[e] case.” Amorgianos v. Nat’l Railroad Passenger

  Corp., 137 F. Supp. 2d 147, 163 (E.D.N.Y. 2001) (citations omitted), aff'd, 303 F.3d 256, 266

  (2d Cir. 2002). Here, Dr. Hauser’s survey merely assumed what plaintiffs must prove: that

  consumers perceive differences in health risks between different types of cigarettes and that for

  consumers of sixty-five different brands, the word “light” has the same implications and

  motivational force. For example, one of the survey’s “screen shots” provided the following

  instruction:

                 Please assume that the health risks of cigarettes depend upon many
                 design features including the choice of tobacco additives and other
                 characteristics of the cigarette. You will be asked to choose
                 among cigarette designs that vary on health risks.


         14
             Many of the respondents in Dr. Hauser’s survey expressly stated that they believed that
  light and full-flavored cigarettes posed exactly the same health risks. (See 3/24/05 Hauser Dep.
  at 416:13-419:9). Dr. Hauser nonetheless included these respondents in his 90.1% estimate so
  long as they placed a positive value on health generally. (See id. at 428:17-429:13 (Q. “Included
  within that 90 percent are people who, in fact, view light cigarettes to be at least as dangerous as
  regular cigarettes.” A. “. . . . [A] certain number of these people . . . at the time of the survey
  perceived that the health risks of light cigarettes are the same as to health risks of regular
  cigarettes, and so some of those people would be included within the 90 percent who, when
  faced with a choice of a cigarette that was, say, less unhealthy, would, in fact, be willing to
  choose . . . the less unhealthy cigarette.”); see also id. at 504:6-21). Of course, anyone who
  believed that light cigarettes pose the same risks as regular cigarettes and bought lights anyway
  did not rely on the alleged fraud.




                                                  - 29 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 35 of 55 PageID #:
                                  58042



  (12/19/05 Hauser Rept. Ex. D at E15 (emphasis added); see also id. (ranking levels of perceived

  health risks as “greater than regular cigarettes,” “same as regular cigarettes,” “same as light

  cigarettes,” “same as ultra-light cigarettes,” and “less than ultra light cigarettes”)

         Considerable research conducted by independent experts outside of litigation, however,

  indicates that many smokers do not believe there are any differences in health risks between full-

  flavor and light cigarettes. (See Stewart Rebuttal Rept. ¶ 36; Defs’ Class Cert. Opp. at 38-40;

  Declaration of David W. Stewart dated July 22, 2005 ¶¶ 53-54, attached as Ex. 29 to Margulies

  Decl.) Dr. Hauser’s own in-depth interviews should have put him on notice of this fact, as many

  of the interviewees stated this belief. For example, Bert is recorded as saying that he does not

  think “light” is healthier, and he doubts there is any tar and nicotine difference in ultra light

  cigarettes. (See 3/23/06 Hauser Dep. Ex. 13.) Chris states that “lights” have the same level of

  health risk as regular cigarettes: “it’s still a cigarette.” (Id.) Tom states that he does not believe

  “lights” are any healthier, but could suspend his beliefs about health benefits for the purpose of

  the survey. (See id.) Karl observes that tar and nicotine levels are the same for “lights” as for

  “regular” cigarettes. (See id.) (See also id. at 299:16-19 (A. “This respondent believes that light

  cigarettes are no less unhealthy than regular cigarettes, and there are many people in our survey

  that have that belief.”) Yet, respondents who believed that light cigarettes are no safer than

  regular cigarettes were nevertheless instructed to assume that there are differences in health risk

  when responding to Dr. Hauser’s survey.

         Courts have excluded expert testimony where, as here, experts base their findings on

  unproven factual assumptions that bear on reliance and causation.15 Dr. Hauser’s conjoint study

         15
             See Fashion Boutique of Short Hills v. Fendi USA, 75 F. Supp. 2d 235, 239 (S.D.N.Y.
  1999) (“[The expert’s] testimony is premised on his assumption that the sharp decline in
  plaintiff’s sales . . . was caused by a ‘campaign of disparagement’ by defendants. Without proof



                                                   - 30 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 36 of 55 PageID #:
                                  58043



  should similarly be excluded because his survey relied on an assumption about health risk that

  has not been adequately established in this case.

         B.      The Conjoint Study’s Aggregation Of Brands Produced Unreliable Results

         As a central allegation of their suit, plaintiffs allege that class members believed that the

  brands of light cigarettes listed in Appendix A to the Second Amended Complaint are less

  harmful than regular cigarettes. (See, e.g., Second Am. Compl. at 1.) Rather than designing the

  conjoint study to account for the differences between smokers of each brand, however, Dr.

  Hauser decided a priori to aggregate sixty-five brands without performing or relying upon any

  studies to determine whether light cigarette smokers are all the same in their beliefs and in

  making purchase decisions. (See e.g., 3/23/06 Hauser Dep. at 147:16-151:22; 3/24/06 Hauser

  Dep. at 346:24-347:6 ( “The internet survey was not focused on inter brand choice.”)) Dr.

  Hauser simply assumed that the influences on purchase decisions of light cigarette smokers of

  different brands cannot be significantly different. Given the significant differences in market

  share of different brands, that assumption is unreasonable without the appropriate empirical data

  and sensitivity. (See Viscusi Rept. ¶¶ 56-57.) However, Dr. Hauser presents no such test to

  show that his study’s results are robust across brands (see id. ¶ 58), and fails to provide any

  authority for such an assumption.

  (continued…)

  of the causation that [expert witness] assumes, his estimate of the value of [plaintiff’s] business
  is not the measure of damages for the defamatory statements that plaintiff can prove.”); Raskin v.
  Wyatt Co., 125 F.3d 55, 68 (2d Cir. 1997) (exclusion of expert report proper where expert
  “assume[d] that any anomalies in the . . . data must be caused by age discrimination, and ma[de]
  no attempt to account for other possible causes”); Binder v. Long Island Lighting Co., No. CV
  88-1315, 1990 WL 137403, at *5 (E.D.N.Y. July 26, 1990) (granting summary judgment for
  employer despite statistical chart showing higher termination rate for older employees, where
  chart did not account for other reasons, such as retirement benefits, why older employees might
  have left), rev’d other grounds, 933 F.2d 187, 193 n. 2 (2d Cir. 1991) (expressly declining to rely
  on statistical chart).




                                                 - 31 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 37 of 55 PageID #:
                                  58044



         Absent any sensitivity test by brand, Dr. Hauser’s analysis is based on improper

  speculation that there are no significant differences among lights consumers in making their

  purchase decisions. That is not feasible. (See id. ¶ 57.) Each brand has unique packaging and is

  marketed in different ways. Moreover, the taste of different cigarette forms (regular, light, ultra

  light) can vary substantially depending upon brand-specific additives, tobacco blend, and tar

  content. (See DeSarbo Rept. at 14.)

         Moreover, the four product attributes tested by Dr. Hauser cannot be freely manipulated

  within any particular brand. Not all brands are sold in ultra-light, light, and full-flavor versions,

  for example. (See Viscusi Rept. ¶ 75.) Thus, brand loyalty —an extremely important factor that

  is completely ignored in Dr. Hauser’s conjoint study16— reduces the extent to which class

  members would actually switch away from a light cigarette that poses the same health risk as a

  full-flavor cigarette if there is no alternative within the class members’ brand. (See Viscusi Rept.

  ¶ 75.) That is, a lights smoker would be less likely to switch to a full-flavor cigarette if he was

  loyal to his brand and there was no full-flavor variety within it.

         For instance, the Newport Lights smokers in Dr. Hauser’s sample had a much smaller

  mean part-worth value for the utility of the health risk component of light cigarettes than

  respondents who smoke other brands. (See Viscusi Rept. ¶ 61.) The coefficients average 11.9

  for Newport Lights smokers, compared to 26.3 for the respondents who smoke other brands.

  (See id.) Similarly, willingness to pay also varied significantly by brand: the mean willingness-

  to-pay estimate is 5.7 for Newport Lights smokers, compared to 191.0 for the respondents who

  smoke other brands. (See id. ¶ 91.) These findings undermine Dr. Hauser’s wholesale
         16
            See Stewart Rebuttal Rept. ¶ 28 (citing K. Michael Cummings et al., Comparison of
  Recent Trends in Adolescent and Adult Cigarette Smoking Behavior and Brand Preferences, 6
  (Supp. 2) Tobacco Control S31-37 (1997) (“[e]vidence from two recent studies indicates
  smokers to be extremely brand loyal”).




                                                  - 32 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 38 of 55 PageID #:
                                  58045



  assumption that there are no significant differences between brands, and demonstrate that the

  conjoint study’s findings cannot be generalized across all brands of light cigarettes.

         C.      Even If Dr. Hauser’s Conjoint Study Fit, It Would Have To Be Excluded Due
                 To Serious Methodological Flaws

         Beyond its lack of fit and failure to account for brand preference, Dr. Hauser’s conjoint

  study suffers from serious methodological flaws that render its results unreliable and incapable

  of generalization to the class. Flaws in a survey’s methodology impact whether the survey can

  be considered trustworthy. See Toys “R’’ Us, 559 F. Supp. at 1205. “The trustworthiness of

  surveys depends upon foundation evidence that: (1) the ‘universe’ or product market is properly

  defined; (2) a representative sample of that universe is selected; (3) the questions to be asked of

  the interviewees are framed in a clear, precise and non-leading manner; (4) sound interview

  procedures are followed by competent interviewers with no knowledge of the litigation or the

  purpose for which the survey was conducted; (5) the data gathered is accurately reported; (6) the

  data is analyzed in accordance with accepted statistical principles; and (7) the objectivity of the

  entire process is assured.” Cumberland Packing Corp. v. Monsanto Co., 140 F. Supp. 2d 241,

  245 (E.D.N.Y. 2001) (citing Toys “R” Us, 559 F. Supp. 1189). “Failure to satisfy one or more

  of these criteria may lead to exclusion of the survey.” Toys “R” Us, 559 F. Supp. at 1205.

                 1.      The Study Suffers From Methodological Flaws Due To Dr. Hauser’s
                         Ignorance Of The Cigarette Industry

         Some of the more significant methodological flaws in Dr. Hauser’s survey are a direct

  result of Dr. Hauser’s lack of experience in the cigarette industry, and his failure to study any of

  the available literature on cigarette sales and marketing.




                                                 - 33 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 39 of 55 PageID #:
                                  58046



                         a.      Important Factors In Smokers’ Purchasing Decisions Were
                                 Omitted From The Survey

         “An underlying assumption of conjoint analysis is that any individual’s choice represents

  a response to a specific combination of characteristics (a bundle of attributes).” (Stewart

  Rebuttal Rept. ¶ 21.) As Mr. Gaskin admitted during his deposition, if a conjoint study does not

  test for the right attributes, the results may be skewed by unmeasured attributes. (See 5/9/06

  Gaskin Dep. at 72:23-73:12.)

         In Dr. Hauser’s study, each hypothetical cigarette alternative had only four attributes: (1)

  pack type; (2) level of perceived health risks; (3) taste; and (4) price. (See 12/19/05 Hauser Rept.

  ¶ 30.) As previously established, Dr. Hauser decided to use those four attributes without having

  reviewed any of the available literature (see 5/19/06 Hauser Dep. at 803:18-22, 823:17-824:13;

  5/9/06 Gaskin Dep. at 69:8-18) or cigarette company marketing information. (See 5/19/06

  Hauser Dep. at 669:11-673:5, 728:3-13.) Instead, he purports to have hypothesized them without

  research and then confirmed them based on responses obtained during fourteen interviews, even

  though he admits that no effort was made to ensure that those fourteen individuals were

  representative of the class (or even the survey respondents). (See 3/23/06 Hauser Dep. at 173:7-

  180:17.)

         Dr. Hauser’s lack of experience and refusal to obtain the requisite knowledge resulted in

  survey questions that do not incorporate relevant product attributes that actually influence

  consumer choice (particularly as compared to pack type, which had only a small effect on

  respondents’ choices). Incredibly, the single most important factor influencing smoker choice —

  brand equity — was not included in Dr. Hauser’s study. (See 5/9/06 Gaskin Dep. at 81:9-

  1882:9-18; 3/24/06 Hauser Dep. at 346:24-347:6.) Given the loyalty of light smokers in making

  their actual purchase decisions and the very strong brand images/identities that exist in this



                                                 - 34 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 40 of 55 PageID #:
                                  58047



  market place, this is a serious deletion. (See DeSarbo Rept. at 12; see also Stewart Rebuttal

  Rept. ¶ 28.) As noted above, brand loyalty will reduce the extent of switching away from a light

  cigarette that poses the same risk as a regular cigarette if there is no continuum of cigarette risk

  choices within brand. (See Viscusi Rept. ¶ 75.)

         Other important factors were also excluded, many of which were mentioned by

  respondents during pre-survey interviews, such as cigarette length (see 3/23/06 Hauser Dep. Ex.

  13 (notes from interviews with Bert), tar content (see id. (notes from interviews with Bert and

  John)), nicotine content (see id. (notes from interviews with John, Chris, and Tom)), menthol

  flavor (see id. (notes from interview with Chris)), and filter size (see id. (notes from interview

  with Chris)). (See also id. at 293:17-294:16; DeSarbo Rept. at 12-13; Heckman Rept. ¶ 36;

  Stewart Rebuttal Rept. ¶¶ 27-28.)

         Where, as here, respondents care about product attributes that are excluded from the

  analysis, they can implicitly link those excluded attributes with one of the included attributes

  when he or she rates a choice, thus making it impossible to determine exactly how much the

  respondents value the included attribute. See Subhash Lonial, Dennis Menezes, and Selim Zaim,

  Identifying Purchase Driving Attributes and Market Segments for PCs using Conjoint and

  Cluster Analysis, 2(2) J. OF ECON. AND SOC. RES. 19-37, 24 (2000); see also Heckman Rept. ¶ 36

  & n.20; Viscusi Rept. at 30-31 ¶ 73))17 Dr. Hauser’s failure to research and test product

  attributes that are important to real-world consumers in making real-world purchases makes the


         17
             Moreover, the survey’s focus on only four characteristics, one of which is health risk,
  raised respondents’ concerns about health risks, which wouldn’t necessarily occur in a survey
  that offered choices over ten or twenty characteristics. (See Heckman Rept. at ¶ 30; Stewart
  Rebuttal Rept. at ¶ 23 (“the manner of presentation of information about individual attributes
  [should] not create an artificial bias that causes respondents to give greater weight to one
  attribute relative to another based solely on the method of presentation”))




                                                  - 35 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 41 of 55 PageID #:
                                  58048



  results of the conjoint study unreliable proof of the trade-offs made by consumers of light

  cigarettes.

                         b.      The Survey Did Not Accurately Reflect Market Choices

          “The validity of the results of a conjoint analysis rests on the extent to which the results

  produced in an artificial survey environment ultimately match results obtained with real products

  in real markets.” (Stewart Rebuttal Rept. ¶ 26; see also Heckman Rept. ¶¶ 15-16, 20.) Thus, the

  product descriptions presented to respondents must be “reasonable representations of that they

  might encounter either at present or at some point in the future.” (Stewart Rebuttal Rept. ¶ 23.)

          In Dr. Hauser’s survey, respondents were presented with hypothetical cigarette options

  that do not even approximate those that are actually available in stores. For instance, the survey

  tested cigarettes that have “health risks greater than regular cigarettes” and cigarettes with

  “health risks less than ‘ultra-light’ cigarettes” (12/19/05 Hauser Rept. Ex. D at E15, E22), as well

  as cigarettes that cost 50% more or less than what the consumer now pays. (See id., Ex. D at

  E17, E22.)

          Moreover, respondents were instructed to assume that taste and health are independent,

  which they are not. Indeed, Mr. Gaskin admitted that none of the pre-survey interviewees said

  that they believe that manufacturers can change the risks of cigarettes without affecting taste.

  (See 5/9/06 Gaskin Dep. 150:15-24; see also 3/23/06 Hauser Dep. Ex. 13 (during a pre-survey

  interview, John is reported as saying he believes that taste is connected to tar and nicotine))

  Nevertheless, respondents were presented with a choice between unrealistic products such as: (a)

  a cigarette that tastes the same as a regular cigarette and has the same health risks as an ultra

  light cigarette, for 20% less than what the respondent pays now; and (b) a cigarette that tastes the

  same as an ultra light cigarette and has a greater health risk than a regular cigarette, for 20%

  more then what the respondent pays now. (See id., Ex. D at E22.)


                                                  - 36 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 42 of 55 PageID #:
                                  58049



         When a conjoint study stretches the actual brands found in the marketplace in terms of

  factor levels in this way, the wide discrepancy with reality may not be believable to respondents

  and may result in unreliable responses. (See DeSarbo Rept. at 16-17.)

                         c.      The Survey Contained Ambiguous Terms

         Mr. Gaskin, who drafted the questionnaire and conducted the interviews, admits that the

  meaning of “regular cigarette” was never made clear; some respondents may have thought that

  “regular” referred to a filtered cigarette, while others may have thought it referred to an

  unfiltered cigarette. (See 5/9/06 Gaskin Dep. at 173:10-14 (“Q. But you don't know whether

  when they said they understood the term ‘regular,’ you don't know what they meant by the term?

  A. I don't know if they meant filtered or unfiltered.”); see also 3/23/06 Hauser Dep. at 86:5-25.)

  To the extent that respondents brought different interpretations of the meaning of the term

  “regular” to the choice task, it is not meaningful to aggregate their responses or make

  comparisons among them. (See Stewart Rebuttal Rept. ¶ 45.) In addition, such differences in

  interpretation make any extrapolation of the real world meaningless because the same descriptors

  used by Dr. Hauser will have multiple and different analogs in the real world. (See id.)

                 2.      Other Methodological Flaws

                         a.      Dr. Hauser Polled A Biased Sample

         A survey is inadmissible when the sample is not representative of the universe it is

  intended to reflect. See Arche, Inc. v. Azaleia, U.S.A., Inc., 882 F. Supp. 334, 335 (S.D.N.Y.

  1995) (excluding survey, in part because the “choice of the sample universe was skewed by the

  focus on apparently higher income respondents”); Vista Food Exchange, Inc. v. Vistar Corp.,

  No. 03-CV-5203(DRH), 2005 WL 2371958, at *7 (E.D.N.Y. Sept. 27, 2005) (excluding survey

  evidence on summary judgment, and stating “the persons interviewed must adequately represent

  the opinions which are relevant to the litigation”) (quoting Amstar Corp. v. Domino’s Pizza, Inc.,



                                                 - 37 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 43 of 55 PageID #:
                                  58050



  615 F.2d 252, 264 (5th Cir 1980)). Plaintiffs define the class as current and former light

  cigarette smokers in the United States. (See Pls’ Mot. Class Cert. at 1.) Therefore, to be

  admissible and to provide valid and reliable estimates, Dr. Hauser’s sample population had to be

  nationally representative of current and former light cigarette smokers.

                                 (i)     Dr. Hauser failed to properly define a relevant survey
                                         “universe”

         The case law is clear that to establish a proper survey universe, there must be a close fit

  between the relevant inquiry and the potential pool of respondents. See Amstar Corp. v.

  Domino's Pizza, Inc., 615 F.2d 252, 264 (5th Cir 1980) ("[O]ne of the most important factors in

  assessing the validity of an opinion poll is the adequacy of the ‘survey universe,' that is, the

  persons interviewed must adequately represent the opinions which are relevant to the

  litigation.''). Dr. Hauser’s conjoint survey did not properly define the relevant universe of

  respondents, because he limited the respondent pool to current smokers of light cigarettes. (See

  5/19/06 Hauser Dep. at 675:24-684:11.) The proposed class, however, is made up of “[a]ll

  United States residents who purchased in the United States, not for resale, cigarettes labeled as

  ‘Lights’ and/or ‘Light . . . .’” (Pls’ Mot. Class Cert. at 1.) A substantial part of the class no

  longer smokes or switched from light cigarettes to ultra lights, full-flavored, or other cigarettes.

  None of these individuals are represented in Dr. Hauser’s survey, even though they likely hold

  very different beliefs than current smokers about the health risks of light cigarettes.

         Moreover, there was no effort to limit the sample to smokers of the brands at issue in this

  case. (See 5/9/06 Gaskin Dep. at 115:19-21.) Forty-one brands listed in Appendix A to the

  Second Amended Complaint are not represented by even one respondent in Dr. Hauser’s sample,

  and some brands smoked by respondents are not included in Appendix A. (See Viscusi Rept.

  ¶ 44.) Some respondents do not smoke a “lights” brand, but instead smoke regular, low tar (but



                                                  - 38 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 44 of 55 PageID #:
                                  58051



  not “lights”) or ultra lights cigarettes. (See id.) There was also no effort to test a sample that

  mirrors the market share of Appendix A brands. (See id.) This failure is particularly important,

  as some manufacturers may have cigarettes that are viewed quite differently by consumers. (See

  id.) Because there is no empirical basis for generalizing Dr. Hauser’s study to Appendix A

  brands, the study cannot support calculations of damages to smokers of these brands. (See id.)

                                 (ii)    The Greenfield Online database did not provide a
                                         representative sample of the relevant universe

          Potential respondents for Dr. Hauser’s internet survey were selected from the Greenfield

  Online database. (See 12/19/05 Hauser Rept. ¶ 24.) This database is restricted to consumers

  who have internet access and have already volunteered to participate in a variety of online

  surveys. (See 3/23/06 Hauser Dep. at 44:25-45:12, 46:25-47:2, 234:7-15; 3/24/06 Hauser Dep. at

  457:16-459:15.) Internet users, however, are not representative of either the general population

  or light cigarette smokers. They are generally younger and white, have attained a higher

  education, and have a higher household income than the general population. (See Stewart

  Rebuttal Rept. ¶ 47 & n.21 (citing The Pew Internet and American Life Project, May-June 2004

  Tracking Survey.) Conversely, the prevalence of cigarette smoking in 2004 was higher among

  adults living below the poverty level, and smoking prevalence generally decreased with

  increasing years of education. See MMWR, Cigarette Smoking Among Adults - United States,

  2004.

          Moreover, Greenfield’s own literature states that most panel members complete between

  25-30 surveys over the course of their enrollment, and refers to panel members that participate in

  online surveys to excess as “Pro Survey Takers” who should be excluded. (See 3/23/06 Hauser

  Dep. Ex. 24 at 4, 6 (Greenfield Panel Management Practices), attached as Ex. 6 to Margulies

  Decl.) Of the 627 respondents that completed Dr. Hauser’s survey (12/19/05 Hauser Rept. ¶ 25),



                                                  - 39 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 45 of 55 PageID #:
                                  58052



  Dr. Hauser calculated that the median number of completed surveys was 31. (See 3/24/06

  Hauser Dep. at 467:20-468:6, 474:1-10.) More than 20% of the respondents had previously

  participated in over 100 surveys for Greenfield Online. (3/23/06 Hauser Dep. Ex. 20, attached as

  Ex. 20 to Margulies Decl.) Almost 10% of the survey takers had participated in more than 200

  prior surveys, and one respondent had participated in more than 1,200 prior surveys. (See id.)

                                (iii)   Dr. Hauser utilized unreliable demographic variables

         Dr. Hauser’s quota sampling procedure attempted to match the national demographics of

  the entire U.S. population with respect to four variables: census region, age, sex, and household

  income. (See 12/19/05 Hauser Rept. ¶ 26; 3/23/06 Hauser Dep. at 47:23-51:14.) But the entire

  U.S. population is not the relevant universe here; current and former smokers of lights cigarettes

  are. And there are significant differences between the distribution of these four demographic

  variables for the entire U.S. population compared to the population of light cigarette smokers.

  (See DeSarbo Rept. at 7-9.) These differences make a difference. A smoker’s income, for

  example, will have a direct impact on his “willingness to pay” for health risks. Demographic

  information used by cigarette companies to segment their markets, such as ethnicity, education,

  occupation, and employment status (see 3/23/06 Hauser Dep. at 51:15-53:8; 5/9/06 Gaskin Dep.

  at 115:22-116:16), may have had a more significant relationship with actual light cigarette

  smoking behavior than the demographic factors used in Dr. Hauser’s study. (See DeSarbo Rept.

  at 7-10.) For example, Dr. Hauser’s sample includes 10% more Caucasian respondents than are

  present in the general population. (See Viscusi Rept. ¶ 48.) This sample mix will affect some

  brands disproportionately, such as menthol cigarettes, which tend to be significantly more

  popular among African-American smokers. (See id.)




                                                - 40 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 46 of 55 PageID #:
                                  58053



                                (iv)    Dr. Hauser’s sampling procedures lacked adequate
                                        controls

         “Most Internet surveys employ convenience samples that cannot technically be used to

  extrapolate to any larger population.” (Stewart Rebuttal Rept. ¶ 46.) This is because there are no

  controls or sources of validation; respondents can come from anywhere and provide

  demographic information that may or may not be correct. (See id.)

         Here, of the 3999 respondents that remained in the survey after self-termination or as the

  result of quotas, 2509 terminated because they were not smokers. (See 12/19/05 Hauser Rept.

  Ex. F.) This means that 37% of the individuals in the respondent pool at this point in the survey

  were smokers — a far higher proportion than found in the adult population of the United States.

  According to the Centers for Disease Control, approximately 20.9% of U.S. adults were current

  smokers in 2004. See MMWR, Cigarette Smoking Among Adults - United States, 2004.

  Considering that the demographic characteristics of internet users, such as education and income,

  are associated with a lower incidence of smoking, it does not make sense that Dr. Hauser’s

  respondent pool included such a disproportionate number of smokers. (See Stewart Rebuttal

  Rept. ¶ 48.)

         The most plausible explanation is that some of those respondents were not actually

  smokers. (See id.) “This can easily happen in an Internet survey where there is no control over

  repeated participation in surveys, respondents can disguise their identity and there is an incentive

  for participation in surveys.” (Id.) If there were a significant number of nonsmokers

  participating in Dr. Hauser’s survey, it would create at least two problems. First, the responses

  of nonsmokers are irrelevant and the sample is over-inclusive. (See id. ¶ 49.) Second, there are

  important problems raised when nonsmokers are asked to respond to questions that include

  anchors such as “your current brand.” (See id.)



                                                 - 41 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 47 of 55 PageID #:
                                  58054



                         b.      The Conjoint Study’s Format Suggested To Respondents That
                                 Light Cigarettes Are Less Dangerous Than Regular Cigarettes

         Not only did Dr. Hauser’s survey instruct respondents to assume that different types of

  cigarettes have different levels of health risk (see pp. 29-31, supra), but the hypothetical risk

  hierarchy Dr. Hauser used in the survey resulted in biased risk ratings by suggesting to

  respondents that light cigarettes are less dangerous than regular cigarettes.

         The conjoint survey told respondents to assume that cigarettes “vary on health risks” and

  then presented them with a hierarchy of risks ranging from “health risks greater than regular

  cigarettes” and those with “health risks less than ‘ultra-light’ cigarettes,” along with products that

  are described as having health risks that are the same as regular cigarettes, the same as “light”

  cigarettes, and the same as “ultra-light” cigarettes. (See 12/19/05 Hauser Rept. Ex. D at E15

  (survey screen shot)) Moreover, there was no provision in Dr. Hauser’s survey for respondents

  to act on their belief that there is no difference in health risks among types of cigarettes. (See

  3/24/06 Hauser Dep. at 535:7-13.) Having been explicitly told that they will be presented with

  five different levels of risk, the set of five alternatives could not be interpreted by respondents in

  any way other than a set of alternatives ranked by health risk. (See Stewart Rebuttal Rept. ¶¶ 33,

  41-42.) Indeed, if a respondent believed that ultra light cigarettes were more dangerous than

  regular cigarettes, Dr. Hauser’s instruction would make no sense. “Such forced responses in an

  artificial choice situation where the ‘better’ alternative has been defined by the survey

  instructions and design reveals nothing about consumer behavior in the market.” (Id. ¶ 42.)

  Confronted with choices where they have been told there are differences in health risk, it is not

  surprising that respondents would select the alternative with lower health risk. (See id. ¶ 33 (Dr.




                                                  - 42 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 48 of 55 PageID #:
                                  58055



  Hauser’s survey design created situation in which respondents will strongly prefer the “good”

  alternative to the “bad” alternative))18

                          c.      Results Of The Conjoint Survey Are Skewed By “Range
                                  Effect”

          The values of attributes obtained in a conjoint analysis are influenced by the number and

  variability of the options available for each attribute, an effect referred to as a “range effect.”

  See Dick Wittink, L. Krishnamurthi, & David Reibstein, The Effect of Differences in the Number

  of Attribute Levels On Conjoint Results, 1 (2) Marketing Letters 113-123 (1989). In other words,

  an attribute may be deemed more important than it actually is in making real-world purchases

  simply because a conjoint study has more levels of variation assigned to it.

          There is evidence of range effect in Dr. Hauser’s results. The least important attribute,

  package, had only two options (hard pack or soft pack). (See 12/19/05 Hauser Rept. ¶¶ 30, 46.)

  The attribute that on average was third in importance was taste had three levels (“tastes like a

  regular cigarette,” “tastes like your brand of ‘light’ cigarette,” and “tastes like an ‘ultra-light

  cigarette”). (See id. ¶¶ 30, 46.) Both of the attributes found most important, price and heath risk,

  had five levels. (See id. ¶¶ 30, 46.) Thus, those attributes with the greatest range were found to

  be most important, and those with the least range were found to be least important. (See Stewart

  Rebuttal Rept. ¶ 29; see also DeSarbo Rept. at 15-16 (commenting on the “levels effect”)) The

  survey had no controls in place to account for range effect. (See DeSarbo Rpt at 15-16.) Thus, it


          18
             The extent to which the conjoint study induced a bias in ratings of cigarette health risk
  is indicated by a comparison of Dr. Hauser’s two surveys. The conjoint study included the bias-
  inducing survey screen shot (see 12/19/05 Hauser Rept. Ex. D at E15), whereas his time study
  did not. In the conjoint study, 61.6% of subjects rated light cigarettes as posing less risk than
  regular cigarettes (see 3/24/06 Hauser Dep. at 508:12-15), whereas only 15% of respondents in
  the time study expressed similar beliefs. (See 12/16/05 Hauser Draft Rept. at ¶ 93; see also
  5/9/06 Gaskin Dep. at 263:16-21).




                                                   - 43 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 49 of 55 PageID #:
                                  58056



  is likely that range effect biased Dr. Hauser’s findings. (See id.; see also Stewart Rebuttal Rept.

  ¶ 29.)

                          d.      Price Ranges Tested In The Conjoint Survey Increased The
                                  Measured Importance Of Price

           Moreover, the price ranges used by Dr. Hauser increased the importance of price. This is

  partly due to “range effect” (see p. 43, supra), but it also reflects the significant variation in price

  that Dr. Hauser introduced into his artificial market. (See Stewart Rebuttal Rept. ¶ 31; Heckman

  ¶ 30.) Price levels ranged from “50% more than what you pay now” to “50% less than what you

  pay now.” (12/19/05 Hauser Rept. Ex. D at E17.) By anchoring the trade-offs between price

  and other attributes on 50% more or less than the current price paid, Dr. Hauser created a

  specific price point that drove the value of the other attributes. (See Stewart Rebuttal Rept.

  ¶¶ 31-32.) Had Dr. Hauser used other values for price in his product descriptors, he would likely

  have arrived at a very different conclusion regarding the value of health risk. For example, had

  he used 20% more than current price rather than 50% of current price as the extreme price points,

  the value of health risk could not have been greater than 20% of the current price. (See id.) On

  the other hand, had Dr. Hauser used 100% more than current price rather than 50% of current

  price as the extreme price points, he might well have found a willingness among some of his

  respondents to pay as much as 100% more for cigarettes to reduce health risk. (See id.) In other

  words, Dr. Hauser’s selection of the price points actually determined the outcome of his study.19

  If he had used a lower discount in his survey, the damage estimate that Dr. Dennis derives from

  it would have been considerably lower.

           19
            See id.; Heckman Rept. ¶ 30 (citing Julie Ratcliffe, The Use of Conjoint Analysis to
  Elicit Willingness-To-Pay Values, INT’L J. OF TECH. ASSESSM. IN HEALTH CARE, 270-290 (2000)
  (“levels chosen for the cost attribute are likely to be highly influential in determining the
  maximum and minimum [willingness-to-pay] values elicited”).




                                                   - 44 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 50 of 55 PageID #:
                                  58057



                 3.      The Conjoint Survey’s Lack Of Reliability Is Demonstrated By Its
                         Irrational Results

         The large number of respondents that gave irrational responses suggests that they either

  did not attend adequately to the survey task, or that the survey itself was flawed in a fundamental

  way. (See Viscusi Rept. ¶ 94.) Less risk was often not associated with greater utility, and less

  cost was often not associated with greater utility. (See id. ¶ 92.)

         For instance, common sense dictates that the highest utility value should be accorded to

  the lowest health risk, with decreasing utility values as the risk level increases. It did not work

  that way in Dr. Hauser’s survey, however:

         •       82 respondents (13%) did not associate the lowest value with the highest risk; 42
                 respondents (6.7%) had a positive value for the health risk in the highest-risk
                 cigarette, and 97 respondents (15.5%) had a negative value for the health risk in
                 the lowest-risk cigarette. (See id. ¶¶ 95-96.) Incredibly, 197 respondents (31%.)
                 valued the heath risks for “ultra-lights” more than the health risks in a cigarette
                 that has a health risk of “less-than-ultra-lights.” (See id. ¶ 95.) Thus, Dr. Hauser’s
                 survey produced the nonsensical result that a substantial portion of consumers
                 would rather buy an ultralight cigarette than a cigarette that is otherwise identical
                 except that it is safer than an ultralight.

         •       With respect to price, 94 respondents (15%.) did not have the lowest utility
                 associated with the highest cost, and 159 respondents (25%.) preferred paying
                 what they pay now instead of paying less. (See id. ¶ 98.) Further, many
                 respondents revealed preferences regarding pack, taste, or risk in early non-
                 conjoint survey questions that contradict their answers in the conjoint survey.
                 (See id. ¶ 92.) For example, just over half the sample (330 respondents) rated the
                 risk of ultra light cigarettes as being lower than that of light cigarettes; however,
                 182 of those respondents had a higher value for the health risk component of light
                 cigarettes. (See Viscusi Rept. ¶ 121.)

         •       Regarding taste, 78 respondents (12.4%) indicated a preference for the taste of
                 ultra light cigarettes to light cigarettes; however, 71 of them valued the taste of
                 lights more than the taste for ultra lights. (See id. ¶ 107.) And, 73 of the
                 respondents who indicated a preference for the taste of light cigarettes showed
                 higher utility values for the taste of regular cigarettes. (See id. ¶ 111.)

         •       Many respondents exhibited preference reversals: 57 respondents (9%) who claim
                 to prefer a soft pack exhibited greater utility values for hard packs, and 136
                 respondents (22%) who indicate a preference for hard pack had a greater conjoint
                 utility for soft pack. (See id. ¶ 104.)


                                                  - 45 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 51 of 55 PageID #:
                                  58058



         These results suggest that the survey did not elicit preferences but instead created

  meaningless values due to biases in the study’s methodology. (See id. ¶ 70.)

         D.      Dr. Hauser’s Conduct In Connection With The Time Study Demonstrates
                 His Inability To Qualify As An Expert Witness

         This Court has noted, specifically with respect to Dr. Hauser, that “[a]dverse material

  reviewed and rejected by an expert bears on his credibility, the soundness of his techniques, and

  the weight to be given his conclusions. It may be relevant to the court’s decision whether to

  qualify under Daubert.” Schwab v. Philip Morris USA, Inc., No. 04-CV-1945 (JBW), 2006 WL

  721368, at *3 (E.D.N.Y. March 20, 2006).

         That Dr. Hauser was willing to repudiate the findings of his time study at the behest of

  plaintiffs’ counsel (see pp. 17-23, supra), demonstrates his failure to “employ[] . . . the same

  level of intellectual rigor that characterizes the practice of an expert in [his] field.” Kumho Tire

  Co., Ltd. v. Carmichael, 526 U.S. 137, 152 (1999). In E.E.O.C. v. Rockwell International

  Corporation the court excluded an expert’s report based on the expert’s willingness to allow

  plaintiffs’ counsel to influence the findings and contents of the report. See 60 F. Supp.2d 791,

  795 (N.D. Ill. 1999) (“Even more serious than [the expert’s] admissions that he did not

  consistently follow his own preferred methods, however, is the amount of input that plaintiff

  actually had into [the expert’s] reports.”). The court found that that the expert had included a set

  of calculations in the report at plaintiff's counsel's insistence, even though such inclusion was

  inconsistent with the expert’s professional approach. See id. at 796. Moreover, the expert relied

  on information given to him by counsel, and failed to verify the information from reliable,

  independent sources. See id. at 797. See also In re Jackson Nat. Life Ins. Co. Premium Litig.,

  No. 96-MD-1122, 2000 WL 33654070, at *1 (W.D. Mich. Feb 8, 2000) (precluding expert

  testimony where “counsel's participation so exceeded the bounds of legitimate ‘assistance’ as to



                                                  - 46 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 52 of 55 PageID #:
                                  58059



  negate the possibility that [the expert] actually prepared his own report within the meaning of

  [Federal Rule of Civil Procedure] 26(a)”). Here too, Dr. Hauser’s willingness to appease

  plaintiffs’ counsel has evidently compromised his ability to employ the same level of intellectual

  rigor that characterizes the practice of experts in his field. His testimony, and the conjoint study

  on which he relies, should be excluded from evidence.

  II.    DR. HAUSER’S TESTIMONY AND CONJOINT STUDY MUST BE EXCLUDED
         UNDER RULE 403

         In addition to the above grounds, Dr. Hauser’s testimony and conjoint study should be

  excluded under Rule 403, because any probative value is “substantially outweighed by the

  danger of unfair prejudice, confusion of the issues, or misleading the jury.’’ Fed. R. Evid. 403.

  Expert evidence can be both powerful and misleading because of the difficulty juries may have

  in evaluating it. An expert’s “false aura of scientific infallibility” creates a risk of misleading

  juries. In re Agent Orange Prod. Liab. Litig., 611 F. Supp. 1223, 1256 (E.D.N.Y. 1985), aff’d,

  818 F.2d 187 (2d Cir. 1987), cert. denied, 487 U.S. 1234 (1988). Because the probative value of

  Dr. Hauser’s testimony, if any at all, is substantially outweighed by the danger of confusing the

  issues and misleading the jury, he should not be permitted to testify in this action. See Vista

  Food Exchange, Inc. v. Vistar Corp., No. 03-CV-5203(DRH), 2005 WL 2371958, at *7

  (E.D.N.Y. Sept. 27, 2005) (finding probative value of survey to be substantially outweighed by

  the survey’s potential for unfair prejudice and confusion); Trouble v. Wet Seal, Inc., 179 F. Supp.

  2d 291, 307-08 (S.D.N.Y. 2001) (same). The opportunity for confusion here is obvious: The

  jury must consider whether purchasers chose their cigarettes on the health implications of the

  word light, which Dr. Hauser admits he did not study. Testimony about hypothetical choices

  among mythical cigarettes with impossible combinations of taste and risk cannot help but

  confuse the issue.



                                                  - 47 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 53 of 55 PageID #:
                                  58060



                                      CONCLUSION

       Defendants’ motion to exclude the testimony of Dr. John R. Hauser should be granted.

       Dated: June 9, 2006

                                           Respectfully submitted,




                                           Theodore M. Grossman
                                           Robert Klonoff
                                           Mark A. Belasic
                                           JONES DAY
                                           North Point
                                           901 Lakeside Avenue
                                           Cleveland, Ohio 44114-1190

                                           Todd R. Geremia (TG-4454)
                                           Arthur Margulies
                                           JONES DAY
                                           222 East 41st Street
                                           New York, New York 10017-6702

                                           Attorneys for Defendants
                                           R.J. Reynolds Tobacco Company and
                                           Brown & Williamson Holdings (f/k/a Brown &
                                           Williamson Tobacco Corporation), individually and
                                           as successor by merger to The American Tobacco
                                           Company

                                           and on behalf of all Defendants, counsel for whom
                                           is listed on the following page




                                            - 48 -
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 54 of 55 PageID #:
                                  58061



  David M. Bernick                             Murray R. Garnick (MG-2549)
  Michelle Browdy                              Judith Bernstein-Gaeta
  KIRKLAND & ELLIS LLP                         James M. Rosenthal
  Amoco Building                               ARNOLD & PORTER LLP
  200 East Randolph Drive                      555 Twelfth Street, N.W.
  Chicago, Illinois 60606                      Washington, D.C. 20004-1206
  (312) 861-2000                               (202) 942-5000

  Peter Bellacosa (PB-2394)
  KIRKLAND AND ELLIS LLP
  153 East 53rd Street
  New York, New York
  (212) 446-4800

  Attorneys for Defendant Philip Morris
  USA Inc.

  Guy Miller Struve (GMS-4506)                 Gregory M. Loss (GL-5953)
  Frances Bivens                               CHADBOURNE & PARKE LLP
  Matthew S. Stewart                           30 Rockefeller Plaza
  DAVIS POLK & WARDWELL                        New York New York 10112
  450 Lexington Avenue                         (212) 408-5100
  New York, New York 10017
  (212) 450-4000                               Attorneys for Defendant British American
                                               Tobacco (Investments) Limited
  Attorneys for Defendant Altria Group, Inc.

  Alan Mansfield (AM-3266)
  Stephen L. Saxl (SS-1028)
  GREENBERG TRAURIG, LLP
  200 Park Avenue
  New York, New York 10166
  (212) 801-9200

  William L. Allinder
  SHOOK HARDY & BACON LLP
  2555 Grand Boulevard
  Kansas City, Missouri 64108-2613
  (816) 474-6550

  Attorneys for Defendant Lorillard
  Tobacco Co.
Case 1:04-cv-01945-JBW-SMG Document 892-2 Filed 06/09/06 Page 55 of 55 PageID #:
                                  58062


                                 CERTIFICATE OF SERVICE

         The foregoing DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR

  DAUBERT MOTION TO EXCLUDE THE TESTIMONY OF DR. JOHN R. HAUSER was

  served on all counsel of record on June 9, 2006 by electronic mail through the Court’s CM/ECF

  system.




                                             Todd R. Geremia
